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                 EXHIBIT 62
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


AMERICAN EDUCATIONAL RESEARCH                     Case No. 1:14-cv-00857-TSC-DAR
ASSOCIATION, INC., AMERICAN
PSYCHOLOGICAL ASSOCIATION, INC., and
NATIONAL COUNCIL ON MEASUREMENT IN
EDUCATION, INC.,

                 Plaintiffs/Counter-defendants,

           v.

PUBLIC.RESOURCE.ORG, INC.,

                 Defendant/Counterclaimant.



                EXPERT REPORT OF JAMES R. FRUCHTERMAN
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Introduction

       As an expert in accessibility of written materials for people who have disabilities that

affect using standard print (people who are print disabled), I have been retained by

Public.Resource.Org to evaluate the accessibility of certain content that had been available on

the website of the defendant in this case. As someone dedicated to improving accessibility for

the benefit of people with disabilities and in the public interest, I agreed to evaluate the

accessibility to people who are blind of this specific commonly used standard document.

       This expert report is a summary of certain opinions that I intend to give, if asked, at trial

regarding the accessibility of specific documents to people who are blind or print disabled. This

report also states the bases for my opinions, and it discloses the data or other information

considered in forming those opinions. I reserve the right to change or supplement this report if

additional evidence comes to my attention, and to prepare demonstratives and/or exhibits to

illustrate or explain my opinions, as appropriate.

       A copy of my curriculum vitae, including a list of my publications and presentations, is

Exhibit A to this report. I provide my expertise in this case pro bono, and I am not receiving

compensation for my time researching, writing this report, or testifying. I previously served as

an expert in The Authors Guild, Inc. et al. v. HathiTrust, et al., Case No. 1:11-cv-06351-HB

(S.D.N.Y.) (case filed September 12, 2011) and I am serving as an expert in American Society of

Testing and Materials, et al. v. Public.Resource.Org, Case No. 1:13-cv-01215-TSC-DAR,

although I have not testified in either case. I have not given deposition or trial testimony in the

past four years.




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Background and Qualifications

        I serve as Founder and Chief Executive Officer of Benetech, a nonprofit dedicated to

creating new technology solutions that serve humanity and empower people to improve their

lives. In 1980 I earned a B.S. in Engineering and an M.S. in Applied Physics from California

Institute of Technology. I co-founded Calera Recognition Systems in 1982. Calera developed

optical character recognition (OCR) technology that allowed computers to read virtually all

printed text.

        In 1989, I founded Arkenstone, a nonprofit social enterprise, which produced reading

machines for the print disabled community based on the Calera technology, and was at one time

the largest maker of affordable reading systems for the blind. The Arkenstone product line was

sold in 2000 and the resulting capital funded the next phase of Arkenstone under its new name,

Benetech. I have been the CEO of Benetech/Arkenstone since 1989.

        I have served on three U.S. federal government advisory committees for disability issues:

the Section 255 Telecommunications Access Advisory Committee, the Section 508 Electronic

Information and Technology Access Advisory Committee, and the Advisory Commission on

Accessible Instructional Materials in Postsecondary Education for Students with Disabilities.

I have received numerous other awards and recognition for my work making print materials

accessible to people who are blind or otherwise print disabled. In 2006 I received a MacArthur

Fellowship. I was named an Outstanding Social Entrepreneur in 2003 by the Schwab

Foundation and have frequently participated in the World Economic Forum Annual Meetings in

Davos, Switzerland. Benetech received the Skoll Award for Social Entrepreneurship under my

leadership. I also received the Migel Medal from the American Foundation for the Blind, the

Robert F. Bray Award from the American Council of the Blind, and the American Library


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Association’s Francis Joseph Campbell Award in recognition of my successful efforts to make

literary works more accessible to people who are blind or visually impaired.



What Does Accessibility Mean for a Person Who is Blind?

       Accessibility is usually defined in a functional way: can a person with a disability

independently access the same information and perform the same tasks as a person without a

disability? When it comes to accessing materials traditionally available as print, such as

standards, there are many groups of print disabilities. The most severe is blindness, where a

person cannot perceive the printed text at all. The next is vision impairment, where a person

generally cannot perceive the text directly or with corrective lens, but may be able to use

magnifiers of different types to read the text. Another group is learning disabilities that interfere

with reading, such as dyslexia. A closely related group of disabilities involve brain injuries that

affect reading or the retention of material read. Another group is physical disabilities that

interfere with the holding or seeing of books or the turning of pages.

       In this report, I focused on the accessibility challenges that would be experienced by

blind people, because they are generally the most severe print disabilities. The other groups of

people with print disabilities use similar technologies to access print (such as having it read

aloud), and experience similar challenges as blind people. In the accessibility field, it is

generally understood that if you make information accessible to a blind person, it will probably

also meet the accessibility needs of the great majority of people with other print disabilities.

       The most common technology used by a blind person for accessibility is called a screen

reader. As the name suggests, a screen reader is a program that runs on a personal computer or a

smartphone that reads the information on the screen aloud (using a computer-synthesized voice)


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to a blind person. The screen reader runs “on top of” other programs, figuring out not only what

text is on the screen, but also the controls that are displayed: items such as buttons, menus, text-

entry boxes and the like. Because of the amount of information on a complete screen, and its

complexity, blind people need to be able to focus on the most important information so that they

do not waste time listening to everything on the screen.

       For the purpose of this report, measuring the accessibility of standards, I am assuming

that the blind user is using a screen reader on top of a web browser or word processor program

on a personal computer. Based on the information the screen reader can glean from the pages

displayed on the screen, can a blind person locate the standard and read it?

       The accessibility tasks I tested were designed to assess whether a blind user with basic

assistive technology skills could perform the same kind of tasks one might expect a user without

a disability to perform in accessing a given standard, without requiring the intervention of a third

party. This functional approach is the most common method of assessing accessibility.

The specific tasks I investigated were:

      !   Could a blind user with basic assistive technology skills independently access a

          specific standard of interest?

      !   Could a blind user independently read the entire standard using assistive technology?

      !   Could a blind user independently navigate to a specific place in the standard and read

          the content in that place?

      !   Could a blind user independently do a full text search and find specific mentions of

          terms of interest?




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I conducted these tests on a standards document that was represented to me as having been

available on the Public.Resource.Org website. I primarily used the Window-Eyes screen reading

software and the ABBYY FineReader optical character recognition software to perform my tests.



Locating an Accessible Version of the 1999 Standards

       I was asked to review the accessibility of the 1999 edition of The Standards for

Educational and Psychological Testing (hereafter, the “1999 Standards”) for people who are

blind or otherwise print disabled. The first step in determining the accessibility of a document is

to try to locate a version of the 1999 Standards that would be accessible to people who are blind

or have print disabilities. I attempted to locate an accessible version of the 1999 Standards

through two separate avenues: by searching the catalogs of the main libraries that serve people

with print disabilities, and also by doing a standard Google search to try to locate an electronic

version of the 1999 Standards. From my work with people who are blind or print disabled, I

know that this would be the typical procedure that people who are blind or print disabled would

perform when looking for an accessible version of a document.

       The four main libraries that serve people with print disabilities are the American Printing

House for the Blind, Bookshare (which I founded), Learning Ally, and the National Library

Service for the Blind and Physically Handicapped, Library of Congress. I performed a thorough

search of all four of these catalogs and found that the 1999 Standards were not available through

any of these resources, either in an electronic form, or in mail-delivery braille or audio recording.

       I then performed a Google search to attempt to locate an electronic version of the 1999

Standards online. I was unable to find an electronic version of the 1999 Standards online, but I

did locate a used print version for sale on Amazon.com. I have been informed by counsel for


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Public.Resource.Org that although Public.Resource.Org previously hosted an electronic version

of the 1999 Standards on its website, it had been taken down during the course of this litigation.

From my research I believe that a version of the 1999 Standards that is accessible to people who

are blind or print disabled is currently unavailable to the public.

       The unavailability of a version of the 1999 Standards that is accessible to people who are

blind or print disabled is problematic because the 1999 Standards are important references for

those making tests that are accessible to students who are print disabled, as well as those

impacted by these tests. For instance, the 1999 Standards were referred to in several works

concerning test accessibility for blind students, specifically: Test Access: Making Tests

Accessible for Students with Visual Impairments: A Guide for Test Publishers, Test Developers,

and State Assessment Personnel, Second Edition, by Carol B. Allman, Ph.D., published by the

American Printing House for the Blind (Exhibit C), and an online resource published by the

American Foundation of the Blind, Building Assessment Initiatives for Schools: Guidelines to

Support the Contract Development Process Between Test Publishers and States (Exhibit D). As

an expert in the field, this means that the 1999 Standards are important references today for those

making tests accessible to students with disabilities such as blindness. This also means that it is

an important resource to any students or other individuals with print disabilities that want to

assess compliance with the 1999 Standards. The unavailability of the 1999 Standards means that

some of those who are most impacted, people who are blind or print disabled, are unable to

independently access the 1999 Standards.




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Testing the Public.Resource.Org Website’s Accessibility

       Because the 1999 Standards are no longer hosted on the Public.Resource.Org website

during the course of this litigation, I was not able to locate the full text of the 1999 Standards on

the Public.Resource.Org website while performing my Google search referenced above.

However, searching the terms “1999 Standards for Educational and Psychological Testing” on

Google (for me) shows the page where the 1999 Standards had been located on the

Public.Resource.Org website, located in the first page of links in the search results. However,

the file I found there was a placeholder noting the voluntary takedown of the file. I have also

searched for other standards that Public.Resource.Org has posted on its website, such as NFPA

101-2000, and I have found that it would be relatively easy for a person who is blind or print

disabled to use screen reader software and perform a Google search to locate a standard if it was

available on Public.Resource.Org’s website. Therefore, when the 1999 Standards had been

hosted on the Public.Resource.Org website, a person who is blind would have been able to locate

the 1999 Standards through a simple Google search, with the assistance of screen reader

software.

       The Public.Resource.Org website has no required sign-up procedure. It is possible to go

directly to a specific standard either by using a direct weblink or by navigating the text-oriented

website. This is important because sign-up procedures can often have the effect of preventing

people who are blind or print disabled from accessing certain parts of websites due to the fact

that many sign-up procedures use unlabeled buttons or other elements that screen reader software

cannot read. Therefore, a person who is blind or print disabled would have been able to locate a

version of the 1999 Standards on the Public.Resource.Org website when it was still hosted there,




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and that person would then have been able to gain access to that electronic version of the 1999

Standards.



Making the 1999 Standards Accessible Today

       Because an accessible version of the 1999 Standards is not currently available, if a blind

person needed to have an accessible version of the 1999 Standards, they would need to create it

themselves or request that their employer, educational institution, or a specialized library for the

blind create it. Generally, most blind people themselves do not have the ability to convert books.

Some blind people have their own home scanners, and if they purchased a used copy online,

would be able to scan the 1999 Standards page by page on a home scanner, which would take at

least two hours of labor, and then perform optical character recognition on the title. Optical

character recognition is the process by which a computer converts images of printed text into

machine-encoded text that can be read aloud by a screen reader. If the scanning quality wasn’t

very good, significant numbers of errors would be introduced through the optical character

recognition process. The resulting word processor file of recognized text could then be read

using a screen reader.

       If Bookshare were to make the 1999 Standards accessible to a blind person, we would

purchase a used copy of the printed version, chop off the bindings and then process it through a

high speed scanner to obtain a high quality scan of the book in less than fifteen minutes. We

would then perform optical character recognition on the image scans of all of the pages of the

book, which typically creates a Microsoft Word file version of the text, and then send it to an

outside service (or a volunteer) to have it proofread, correcting errors introduced by the

limitations of optical character recognition. Public.Resource.Org has already performed the


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great majority of the most expensive and time consuming steps needed to create an accessible

version of this document, specifically purchasing a print version of the title, waiting a few days

to receive it, chopping off the binding and scanning it with a high speed production scanner, or

utilizing a library-grade nondestructive book scanner. This is a valuable contribution to anyone,

individual or organization, that wanted to ensure that the 1999 Standards are accessible to people

who are blind or print disabled, if that file were still available.



The Public.Resource.Org Version of the 1999 Standards

        I was supplied with a version of the 1999 Standard in PDF format. It was represented to

me that this file had been available online at the Public.Resource.Org website. I examined the

file, and found it to be a high quality image scan of the 1999 Standards. If the file was still

online, this would have meant that a blind person wanting to have an accessible version of the

1999 Standards would be able to do so by performing optical character recognition on the

Public.Resource.Org image file, creating an accessible text version of the 1999 Standards in

minutes.



Confirming Accessibility for People Who Are Blind

        I then performed the steps of taking the Public.Resource.Org version of the 1999

Standards and making it accessible, while using Window-Eyes screen reading software to read

the words on the computer screen aloud. For the version of the 1999 Standards that was on the

Public.Resource.Org website, I used ABBYY FineReader optical character recognition software

to recognize page images, and it converted those pages into a Microsoft Word document. In

addition, the process of using the ABBYY software and reading the document was something a


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blind person could do independently using Window-Eyes software to perform the tasks in an

accessible way, because the program speaks the menus and converted text aloud. Because the

image scan by Public.Resource.Org was high quality, there were few optical character

recognition errors. In addition, I also tested a typical page image from the Public.Resource.Org

version using the website Free Online OCR (http://www.onlineocr.net/), and confirmed that it

also recognized the text well. In my opinion, most of the OCR solutions that would be available

to people who are blind should be able to convert this image PDF document into accessible text.




       I then examined in Microsoft Word several pages of the standard as processed by

ABBYY FineReader, and confirmed that Window-Eyes could read the text aloud in logical

reading order. I also successfully performed full text searches on a key word, a standards

number, and a page number, using Window-Eyes.




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        My tests therefore indicated that a blind person using a screen reader would be able to

perform all of the functional tasks: reading the entire standard, navigating to a specific place in

the standard, or searching on key terms. Because the text is provided in a standard format, such

as Microsoft Word, a blind person is able to listen to the text, or access it using a digital braille

device. This kind of text content is also highly accessible to people with other print disabilities

and the assistive technology they use to access print. For example, people with low vision or

with dyslexia often use a screen reader to read text aloud.



The Archive.org Version of the 1999 Standards

        I was also supplied with a version of the 1999 Standard in TXT (text) format, by a staff

person at the Internet Archive, operator of the Archive.org website. It was represented to me by

this person that this file, aera.standards.1999_djvu.txt, had been available online at the

Archive.org website. According to the Internet Archive’s “Derivatives” page located at


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https://archive.org/help/derivatives.php, when a PDF file is uploaded to the Internet Archive

website, the website automatically creates derivative file types that are also accessible on that

website, including TXT format. The deposition testimony of Christopher Butler from the

Internet Archive, as well as the deposition testimony of Carl Malamud from Public.Resource.Org

indicate that when Public Resource uploaded the PDF file of the 1999 Standards to the Internet

Archive website, the Internet Archive automatically created this text file of the 1999 Standards,

which was publicly accessible on the Internet Archive website.1 I examined the file, and found it

to be a text version of the 1999 Standards, preceded by informational material about the Internet

Archive in HTML format. It appeared to me that the text version had been created by optical

character recognition, because there were a few uncorrected errors typical of that process.

        As established in my discussion of the 1999 Standards on the Public.Resource.Org

website above, once the 1999 Standards are available in an electronic text format, a blind person

using a screen reader would be able to perform all of the functional tasks: reading the entire

standard, navigating to a specific place in the standard, or searching on key terms. I confirmed

that this was the case with the aera.standards.1999_djvu.txt file. Because the text is provided in

a standard and compatible format, a blind person is able to listen to the text, or access it using a

digital braille device. This kind of text content is also highly accessible to people with other

print disabilities and the assistive technology they use to access print.



Conclusion

        I was asked to review the accessibility of the 1999 edition of The Standards for

Educational and Psychological Testing. I was unable to find an accessible version of the

1
 Deposition of Christopher Butler of the Internet Archive, December 2, 2014, at pp. 48-49, 87, 102-105;
deposition of Carl Malamud of Public.Resource.Org, May 12, 2015, at pp. 281-284.
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                           Exhibit A
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                                    James R. Fruchterman
                                         Founder and CEO

                                             Benetech



Education

       California Institute of Technology
        B.S. Engineering, 1976-80
        M.S. Applied Physics, 1978-80
       Stanford University, 1980-81
        Ph.D. Studies in Electrical Engineering

Professional Experience
       CEO and Founder, 2015-present
        President, CEO, Chairman, Founder, 2000-2014
        Benetech (name changed from Arkenstone in 2000)
        Palo Alto, California

       President, CEO, Chairman, Founder, 1989-2000
        Arkenstone, Inc.
        Moffett Field, California
       Director, 1989-present
        Vice President Finance, CFO, 1989-2004
        President & CEO, Founder, 1989-95
        RAF Technology, Inc.
        Palo Alto, California and Redmond, Washington
       Vice President, Marketing, 1987-89
        Founder, Vice President, Finance, 1982-88
        Calera Recognition Systems, Inc.
        Santa Clara, California
       Prior engineering positions with:
             Phoenix Engineering, Inc.
             G.C.H., Inc.
             IBM T.J. Watson Research Center
             General Motors Company
             NASA — Jet Propulsion Laboratory
             Fermi National Accelerator Laboratory
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Publications
       Technology Serving Humanity (chapter). In Schultz, R. (editor) Creating Good Work, Palgrave
        Macmillan, February 2013
       Guest Editor’s Page, AFB Journal of Visual Impairment & Blindness, October-November
        2012
       An Interview With Technology Guru George Kerscher, AFB Journal of Visual Impairment
        & Blindness, October-November 2012
       For Love or Lucre, Stanford Social Innovation Review, Spring 2011
       Developing Information Technology to Meet Social Needs. In Innovations, MIT Press, 2008
       Accessing Books and Documents, a chapter in the book, Assistive Technology for Vision-
        Impaired and Blind People, Springer Verlag 2008
       Everyone Deserves Access to Technology, OpEd in The Sacramento Bee by Jim Fruchterman
        and Gregg Vanderheiden, June 17, 2007
       Document Recognition Serving People With Disabilities, Proc. SPIE 6500, International
        Society for Optics and Photonics, 2007
       Pattern Recognition Technology Helps Disabled People Access Books, SPIE Newsroom,
        International Society for Optics and Photonics, May 14, 2007
       Nothing Ventured Nothing Gained, Addressing the Critical Gaps in Risk-Taking Capital for
        Social Enterprise, by Jed Emerson, Tim Freundlich and Jim Fruchterman, published by
        Oxford Said Business School, 2006
       Build Great Companies, Then Help Build a Great World, OpEd in The San Jose Mercury News,
        November 13, 2006
       Comments on Accessibility of Google Print and Google’s Library Project, white paper,
        February 2005
       Technology Benefiting Humanity, published in the Association for Computing Machines
        Ubiquity magazine, March 2004
       The Power of Technology Social Enterprises, published in the N-TEN forecast series,
        February 2004
       In the Palm of Your Hand: A Vision of the Future of Technology for People with Visual
        Impairments, published in the American Foundation for the Blind’s Journal of Vision
        Impairment and Blindness, October 2003
       The Chafee Amendment: Improving Access to Information, published in Information
        Technology and Disabilities, a journal published by Equal Access to Software and Information
        (EASI), co-authored with Bookshare Senior Product Manager Alison Lingane, October 2003
       The Soundproof Book: Exploration of Rights Conflict and Access to Commercial EBooks
        for People with Disabilities, published in First Monday, co-authored with George Kerscher,
        the International Project Manager of the DAISY Consortium, May 2002
       Bookshare, Books without Barriers, at the Closing the Gap conference, Minneapolis, MN,
        October 2001
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       Two presentations given at the IT Accessibility 2001 Conference, May 2001 at the National
        Institute of Standards and Technology
             I Dream of Software
             The Business Case for Adaptive Technology
       Humanizing the Voice of the Machine, with Prof. Mari Ostendorf (University of
        Washington), Annual Meeting of the American Association for the Advancement of the
        Machine, Boston, MA, February 2000
       The Many Facets of Open Book: Ruby Edition, California State University, Northridge
        (CSUN), 15th Technology and Persons with Disabilities Conference, March 2000
       Corporate Responsibility for Adaptive Technology, California State University, Northridge
        (CSUN), 14th Technology and Persons with Disabilities Conference, March 1999
       Developing Partnerships for Assistive and Universally Designed Technology for Persons
        with Disabilities, Testimony before United States House of Representatives, Committee on
        Science, Subcommittee on Technology, August 4, 1998
       Access to Maps and Location Information through Virtual Reality Techniques and GPS
        Satellite Receivers, 3rd International Technical Aids Seminar, Tokyo, Japan, July 1994

Invited Talks
       “Innovation in America: The Role of Technology,” August 1, 2013, Testimony before U.S.
        House of Representatives, Judiciary Committee’s Subcommittee on Courts, Intellectual
        Property, and the Internet.
       “Social Change at Scale – That’s Innovation!” May 2012, TEDxSanJoseCA 2012, San Jose,
        CA.
       “The Power of Failure, People and Karma Banking,” May 20, 2012, Commencement speech, St.
        Mary's College, Moraga, CA.
       “Raising the Floor,” October, 2011, Keynote Speech, Association for Education and Rehabilitation
        of the Blind and Visually Impaired Conference, Cleveland OH.
       Keynote speech, IEEE Sections Congress, August 2011, San Francisco, CA.
       “Making the Book Truly Accessible,” Tools of Change Conference, New York, NY, 2011
        Keynote Speech
       UBS-Ashoka Visionaris Award, Keynote Speech, Social Entrepreneur of the Year Award,
        Mexico City, Mexico, September, 2010
       A series of three invited speeches on Bookshare and accessible books, in Tokyo, Shizuoka
        and Osaka, Japan, February, 2009
       Keynote Speech, Social Enterprise World Forum, Edinburgh, Scotland, September, 2008
       “Raising the Floor: Providing Accessible Technology and Content to Every Person with a
        Disability on the Planet,” International Conference on Computers Helping People with
        Special Needs, Linz, Austria, July, 2008 Keynote Speech
       “Raising the Floor,” CSUN Conference on Technology and Persons with Disabilities,
        March, 2008 Keynote Speech
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    Extensive speaking engagements to students about technology serving people with
     disabilities. Have done invited talks at:
          Stanford University
          University of California at Berkeley
          Brigham Young University
          University of the Pacific
          Santa Clara University
          California Institute of Technology
          San Jose State
          University of California at Santa Cruz
          University of California at Davis
          Loyola Marymount University
          Pepperdine University
          University of Washington
          Columbia University
          Harvard University
          University of Geneva
          Oxford University
    Inflection Point Opportunities in Social Investment, Closing Keynote for the UBS
     Philanthropy Forum, Lisbon, Portugal, July 2007
    It’s Not Rocket Science: Building Social Enterprises, Keynote for the 7th Gathering of the
     Social Enterprise Alliance, Atlanta, Georgia, March 2006
    Opening Keynote for the Global Social Venture Competition, New York, April, 2006
    Keynote for the 7th IAPR Workshop on Document Analysis Systems, Nelson, New
     Zealand, February 2006
    Building a Global Library for People with Print Disabilities, a speech for the World Summit
     on the Information Society, Tunis, Tunisia, November 2005
    Innovating Information Technologies to Protect Human Rights, a speech for the World
     Affairs Council of Northern California, February 2004
    Setting the 2004 Agenda: Technology, speaker at the World Economic Forum, Davos,
     Switzerland, January 2004
    Seizing Market Failure as an Investment Opportunity, Keynote for the Business for Social
     Responsibility Annual Conference, Los Angeles, November 2003.
    In the Palm of Your Hand, Keynote for the World Blind Union Asia Pacific conference,
     Singapore, November, 2003
    Technology and Human Rights, University of Peradeniya, Sri Lanka, November, 2003
    When Markets Fail, Who Responds? Discussion Leader at the World Economic Forum,
     Davos, Switzerland, January 2003
    Technology for Nonprofits, with Michael Gilbert, National Gathering for Social
     Entrepreneurs, Minneapolis, MN, December, 2002
    Bookshare: Large Scale, Web-Based Accessible Books, TechShare conference organized by
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        the Royal National Institute of the Blind, Birmingham, UK, November 2002
       Putting Technology to Work for Development, speech at the United Nations to the joint
        meeting of the World Technology Network and UNOPS, July 2002
       Bookshare: The Project for Creating Accessible Books through Computers, at the General
        Session of the National Federation of the Blind 2002 Annual Convention, July 2002
       Stanford Social Entrepreneurship Conference, January 2002
       The Once and Future Web: Tenth Anniversary of the First U.S. Web Page at the Stanford
        Linear Accelerator Laboratory, December 2001
       NetImpact Annual Conference at Kenan-Flagler Business School, November 2001
       American Council of the Blind Annual Convention, July 2001
       Bringing Socially Beneficial Technology into the Service of Humanity, EE380 at Stanford
        University, April 2001
       Information Technology in the Service of Human Rights at the Computers, Freedom and
        Privacy Conference, March 2001
       Rank Prize Fund Symposium, Grasmere, England
       Guest Lecturer for CSUN program in disability leadership

Professional Associations
       Association for Computing Machinery
       Institute of Electrical and Electronics Engineers
       American Association for the Advancement of Science
       Social Enterprise Alliance

Awards and Public Service
       Head of Benetech Delegation, Diplomatic Conference to Conclude a Treaty to Facilitate
        Access to Published Works by Visually Impaired Persons and Persons with Print Disabilities,
        World Intellectual Property Organization, Marrakesh, Morocco (2013)
       Member, Global Agenda Council on Measuring Sustainability, World Economic Forum
        (2012-2014)
       Member of the Board of Directors, ZeroDivide, foundation investing in community
        enterprises that leverage technology to benefit people in low-income and other underserved
        communities (2007-2013)
       Commissioner, Federal Advisory Commission on Accessible Instructional Materials in
        Postsecondary Education for Students with Disabilities, 2010-2011
       Duke University, CASE Award for Enterprising Social Innovation, 2011
       Brigham Young University, Center for Economic Self-Reliance Social Innovator of the Year,
        2009
       AT&T Technology Innovation Award from the Alliance for Technology Access, March
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     2008
    Strache Leadership Award from the California State University, Northridge, 2007
    John D. and Catherine T. MacArthur Foundation Fellowship, 2006
    Technical Advisory Committee Member, National Instructional Materials Accessibility
     Standard, U.S. Department of Education (2005-2008)
    Advisory Committee Member, National Instructional Materials Accessibility Center, U.S.
     Department of Education (2006-present)
    Skoll Award for Social Entrepreneurship, 2004 and 2006
    Fast Company Social Capitalist Award: Top 20 Groups Changing the World, 2004
    Laureate, The 2003 and 2001 Tech Museum Awards
    American Library Association Francis Joseph Campbell Award, 2003
    Schwab Foundation Outstanding Social Entrepreneur of 2003 Award
    Member, the Community Partnership Committee, which oversees a diversity and disability
     agreement with SBC, Inc.
    Runner-up, Yale-Goldman Sachs National Nonprofit Business Plan Competition, 2003
    American Foundation for the Blind Access Award, 2003
    Robert S. Bray Award, The American Council of the Blind
    Winner, Education Category, 2002 Stockholm Challenge
    Fast 50 Champion of Innovation 2002
    Judge, 2002 National Social Venture Competition
    Member, Board of Directors of the Social Enterprise Alliance (2000-2010, chair 2008-2010)
    Member of the Advisory Board, Telecommunications Access Rehabilitation Engineering
     Research Center, a joint effort of the Trace R&D Center of the University of Wisconsin-
     Madison and the Technology Access Program of Gallaudet University, 2001
    Panelist, National Science Foundation Small Business Innovation Research Program, 1998,
     2000, 2003
    Participant, 1998 NSF Workshop for Discussing Research Priorities and Evaluation
     Strategies in Speech Synthesis, August, 1998
    Member, Electronic Information and Technology Access Advisory Committee, a federal
     advisory committee responsible for drafting federal acquisition standards for accessibility
     under Section 508, 1998-1999
    Member, Telecommunications Access Advisory Committee, a federal advisory committee
     responsible for making recommendations to the U.S. Access Board and Federal
     Communications Commission on implementing portions of the 1996 Telecommunications
     Act, 1996-1997
    U.S. Patent Number 5,470,223: System and Method for Tracking a Pedestrian
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       Finalist, 1996 Discover Magazine Awards for Technological Innovation
       1996 Access Award, American Foundation for the Blind

Major Works and Areas of Expertise
       Founder and CEO of Benetech, a highly innovative nonprofit company focused on using
        the power of technology to address social needs in areas such as disability, literacy, human
        rights and the environment.
       Founder of Arkenstone, Inc., a leading nonprofit organization providing adaptive
        technology for education and employment for people with disabilities and the largest maker
        of reading systems for people with blindness, vision impairment and learning disabilities.
        Developer of the Arkenstone Reader, the first affordable reading system for the blind.
        Designer of Open Book, the first talking Windows program for the blind. Co-inventor of
        Atlas Speaks, the first accessible map software for the blind, and of Strider, a talking GPS
        locator for the blind.
       Cofounder of RAF Technology, Inc., the nation's leading company in optical character
        recognition technology for processing forms in postal and medical applications. RAF's
        software is used to route the United States mail.
       Cofounder of Calera Recognition Systems, Inc., the first company to develop omnifont
        optical character recognition that works without user training.
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                                    Exhibit B

             Documents, Facts, or Data Considered in Forming My Opinions:

!    The Public.Resource.Org website, at www.public.resource.org
!    The American Printing House for the Blind website, at www.aph.org/
!    The Bookshare website, at www.bookshare.org/cms
!    The Learning Ally website, at www.learningally.org
!    The National Library Service for the Blind and Physically Handicapped, Library of
     Congress website, at http://www.loc.gov/nls/catalog/?loclr=blognls
!    Test Access: Making Tests Accessible for Students with Visual Impairments: A Guide for
     Test Publishers, Test Developers, and State Assessment Personnel, Second Edition, by
     Carol B. Allman, Ph.D., published by the American Printing House for the Blind, and an
     online resource published by the American Foundation of the Blind, available at
     www.aph.org/tests/access2
!    Building Assessment Initiatives for Schools: Guidelines to Support the Contract
     Development Process Between Test Publishers and States, available at
     www.afb.org/info/afb-national-education-program/jltli-2005-education-
     summary/checklist-for-rfp-building/235
!    Window-Eyes screen reader software
!    ABBYY FineReader optical character recognition software
!    The 1999 Standards in image only PDF format, as provided to me by
     Public.Resource.Org
!    The 1999 Standards in TXT format, as provided to me by the Internet Archive
!    The deposition of Christopher Butler of the Internet Archive, December 2, 2014
!    The deposition of Carl Malamud of Public.Resource.Org, May 12, 2015
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                           Exhibit C
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           Making Tests Accessible for
                  Students with
              Visual Impairments:
             A Guide for Test Publishers,
                Test Developers, and
            State Assessment Personnel*
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             TEST ACCESS:
       Making Tests Accessible
         for Students With
        Visual Impairments

        A Guide for Test Publishers,
        Test Developers, and State
          Assessment Personnel*


                     Fourth Edition


                Carol B. Allman, Ph.D.


               Published by
   American Printing House for the Blind
           Louisville, Kentucky
                July 2009




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  *Book Number two in the TEST ACCESS Series, promoting
  accessibility of testing materials for persons who are blind or
  visually impaired


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Inc. With the exception of ETS Guidelines for a Test Reader, which is
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Work in Progress: This document represents a set of guidelines
for making tests accessible to students with visual impairments.
These guidelines are a "work in progress" and will be routinely
updated and revised as additional information is collected and
research results are learned. Please address questions, concerns,
and suggestions regarding these guidelines to the director of APH's
Accessible Tests Department at 1-800-223-1839 or e-mail them to
tests@aph.org.
Disclaimer: Web links in this document were current as of the
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                          INTRODUCTION

                        Purpose of Document

The American Printing House for the Blind (APH) is committed to ensuring
that educational materials are accessible to students with visual
impairments. Students with visual impairments include those with some
usable vision, as well as students with no usable vision. This document is
provided as a guide for making tests accessible in tactile, large print, and
audio formats. It is anticipated that this guide will be used as a tool for
implementing appropriate guidelines as test publishers, test developers, test
editors, and state assessment personnel are developing and adapting tests
and assessments. Prior planning using the contents of this document will
help ensure that tests are accessible and will reduce the need to retrofit a
test. Questions concerning this document, the specific guidelines, or re-
sources discussed can be addressed to APH's Accessible Tests Department at
1-800-223-1839 or tests@aph.org.

                   Federal and State Mandates

Federal and many state laws require that all students be assessed through
state assessment procedures using the appropriate accommodations. In the
school year 2005-2006, states were required to assess all students'
progress annually in mathematics and reading in grades 3-8 and once in
grades 9-12. In addition, by 2007-2008, states were required to assess all
students' progress in science, at least once in grades 3-5, 6-9, and 10-12.
Assessment results of all students must be reported publicly, and these
results are to be incorporated into the state’s accountability plan.

Satisfying these federal requirements necessitates careful attention to
making tests accessible for all students. Students with visual impairments
have some unique communication needs that must be addressed as tests
and assessments are made accessible for them. Converting test items into
braille, tactile graphics, large print, or audio format fails to guarantee that
the items are accessible. For example, test items that instruct the student
to "draw the results of the following" or "write a story based on the
picture" are not truly accessible to braille readers. Other examples of this
misconception are discussed within each media-specific section of this
document. Careful planning during test development can help ensure that
tests are accessible, while maintaining the rigor intended.




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Expectations for Students with Visual Impairments

If students with visual impairments are to participate effectively in state and
national testing programs, they must have opportunities to learn academic
skills that will be assessed. These opportunities often are overshadowed by
special skills training to such students, who may miss all or part of academic
classes in order to obtain the skills essential for using braille, assistive
technology, and/or independent living skills, including orientation and
mobility.

In addition to providing the training of special skills, school personnel must
be aware of each student's need for instruction in all academic areas. This
may entail extended days or school years or supplemental instruction by
other agencies that serve students with visual impairments.

Students with visual impairments must spend their educational time
working toward academic content standards, learning special skills needed
for independent living, exploring appropriate media for access to printed
material, and evaluating ways of communication that are effective for them.
Access to printed material may include braille, tactile graphics, regular print
with magnification devices, large print, the use of a human reader, auditory
access, or technology access that provides braille, print, or auditory infor-
mation. No single method will work for every student, in all situations.
Educational personnel must ensure that students are exposed to and have
opportunities to try all options of access. A student's communication mode
must be based on what works for him or her. See Appendix A for a
discussion of braille versus auditory access.

School personnel must maintain high expectations for the education of
students with visual impairments. If opportunities to learn are present in
the curricula, students will have the experiences needed to learn difficult
skills such as map and graph reading, production of graphs and charts,
reading technical materials, or computation of advanced mathematics.
Students cannot be denied their right to learn difficult skills just because
they have a visual impairment. It is these more difficult skills that are being
assessed routinely on most state and national assessments of student
progress in reading, mathematics, and science.




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                            Universal Design
In the construction and administration of tests, the process of universal
design helps to ensure accessibility for a multitude of students. Universal
design provides the widest range of students the ability to demonstrate
adequately their skills and knowledge. This process should retain the
validity of inferences drawn from the test results.

The concepts of universal design apply to instruction as well as assessment.
During instruction, universal design enables investigating appropriate
methods, practicing skills and knowledge using appropriate methods,
experiencing trial and error to determine the best methods, and
discovering the success of knowledge and skills learned using the best
methods for each individual student. During assessment, universal design
becomes the process of ensuring that the majority of students can
demonstrate their knowledge and skills. Both aspects of learning,
instruction and assessment, are driven by the standards of each individual
state.

To ensure that an assessment system is fair and accessible to all students,
states are required to document how they include the principles of universal
design in the item review process. Generally the principles of universal
design include (Thompson & Thurlow, 2002, Thompson, Johnstone, &
Thurlow, 2002):

     •   Attention to an inclusive assessment population,
     •   Constructs, including content and cognitive complexity, that are
         precisely defined either through states’ standards or the test item
         specifications,
     •   Accessible test items, as determined by item writers and review teams
         that include personnel familiar with various media (braille, tactile
         graphics, large print, regular print, and audio),
     •   Non-biased test items, as determined by item writers and review
         teams,
     •   Test formats, response options, and scoring policies that are amenable
         to various approved accommodations needed by students,
     •   Simple, clear, and intuitive instructions and procedures,
     •   Comprehensive and relevant language that provide needed distracters
         in test item foils but are not designed to confuse the student, and
     •   Maximum legibility of print formats including formats that are free from
         clutter and void of grayscale.




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Suggestions for applying universal design to item development include:

      •   Ensuring that test item writers are trained in concepts of universal
          design,
      •   Providing test item writers and reviewers with construct and construct-
          related information during the construction and review of test items,
      •   Examining each test item for universal design principles(linguistic
          complexity; cognitive complexity; formatting; bias issues; modalities
          of braille, large print, and audio; and response formats to be allowed),
      •   Recommending allowable accommodations for test administration,
      •   Re-examining all test items for fidelity to the construct, and
      •   Field testing all test items with intended populations.

The principles of universally designed assessments are the basis for many of the
guidelines provided in this document. Additionally, the references listed at the
end of this document have been written by individuals involved in ensuring the
accessibility of materials for students with visual impairments. This document
describes guidelines that support braille, tactile graphics, large print, and audio
production of test items.




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                 GENERAL GUIDELINES FOR
                 ACCESSIBLE TEST FORMATS
Students with visual impairments may require testing materials in regular
print, large print, braille, tactile graphics, audio formats, or some
combination of these formats. The provision of a test and related materials
in braille, large print, or audio provided an individual student should be
based on the medium used by the student, as identified in the
Individualized Education Program (IEP) document. Alternate format tests
should be used only by students who use that medium to access printed
textbooks and other instructional materials.

Students with visual impairments can be, and must be, made part of the
state's assessment program through use of accommodations that allow
them to demonstrate their knowledge and skill acquisition, as outlined in
each state's standards and assessment system specifications. Regardless of
the media chosen, students may need access to special materials such as
braille paper, bold line writing paper, talking calculators, abacuses, raised or
bold line rulers, braillewriters, slates and styluses, word processors, or other
materials and devices. A more thorough discussion of accommodations is
provided in the section on Accommodations in Testing Students with Visual
Impairments and in Appendix F.

The following general guidelines are recommended for all formats that are
developed for accommodating students with visual impairments. Various
aspects of test construction and implementation are addressed in this
section.

                       Contract Development
  1.   Contracts between states and test publishers/producers must include
       provisions for state approved alternate media (braille, large print,
       audio editions of tests, and scripts for oral presentation of tests)
       including answer sheets and practice tests.
  2.   Test publishers need to have the capability of providing the test
       administration manual in braille, large print, or audio for test
       administrators who are visually impaired and need accessible media.
       The contract should state if test administration manuals are needed in
       accessible media.
  3.   Contracts must include timelines for development, proofreading,
       revising, and production of braille, tactile graphics, large print, and
       audio test formats and accompanying practice materials.



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4.   Contracts regarding accessible media should guarantee that each
     medium of test materials and practice materials is produced by the
     same entity to ensure consistency in format and graphic production
     techniques. Every effort should be made to ensure consistency of
     presentation from one year to the next, and from one level of the
     test to the next.
5.   Contracts may need to include specifications on tools and materials
     that need to be developed or provided to test takers using alternate
     media, e.g. a braille ruler, a tactile or large print protractor, or
     periodic table of the elements, real money for money related test
     items, or some actual objects such as a ball or cube.
6.   Contracts may need to include plans to ship special versions of tests
     separately from regular print versions so that distribution of the
     accessible formats occurs in a timely manner.

                       Test Development
1.   Test development must ensure that test score inferences reflect
     intended constructs and not disability characteristics (AERA,
     2000).
2.   The construct to be measured must be specified in documents and
     made available to test item writers and reviewers and to accessible
     media producers.
3.   Availability of item specifications is essential in determining
     appropriate accommodation use and in the reproduction of test
     items to be presented in braille, tactile, large print, or audio
     formats.
4.   Test publishers must maintain access to experts in the media of
     braille, tactile graphics, large print, and audio, who can provide
     information concerning test development and transcription and
     tactile graphic design, and who are able to proofread test materials
     before mass duplication, and otherwise ensure that materials are
     provided in a timely and accurate manner. Proofreading the braille,
     large print, or audio version of the test before multiple copies are
     made confirms that the material is readable and that the adapted
     test follows the print copy in numbering and lettering of test items
     and answer choices, and that the graphics are readable and located
     correctly. The proofreader must also check for proper formatting.
5.   Validity issues concerning all accessible formats and accommodation
     needs should be discussed during test development (Phillips, 1994).
     The provision of a test in accessible media should be considered a
     valid accommodation as long as it retains the construct that the test
     was designed to measure. If a performance item requires drawing,
     consider allowing an explanation or description as a valid response


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     option. If such a revision is allowed, scoring criteria must include
     information on this option.
6.   All directions on a test should be worded to allow for alternate
     response methods. For example, use of directions like "circle the
     answer" should be replaced with "indicate or mark the answer."
7.   Specific guidelines on any test format changes, allowable
     accommodations (including time allowances), and general
     assistance that can be provided to the student must be stated in
     the test administration manual or supplemental administration
     materials.
8.   Test item development and review committees should be made aware
     of alternate media issues regarding the use of either complicated or
     nonessential pictures and graphics.

              Item Development and Review
1.   Educators with specialization in the field of visual impairments
     must be included in the test item development process.
2.   All test items must be reviewed by persons familiar with visual
     disability issues to ensure that no test item is biased or
     discriminatory toward persons with visual impairments.
3.   It is recommended that as much information as possible be
     included in the text of a test item. This will help prevent the
     introduction of pictures that contain information necessary for
     selection of the correct answer, but which cannot be adequately
     brailled, presented in large print or tactile graphics, or described in
     audio format.
4.   In general, use of "vision specific" language can be maintained,
     e.g., "Look at the following list of animals.”
5.   The test item pool must be large enough for bias and item review
     committees to replace items determined to be biased or inaccessible
     in braille, large print or audio formats, or tactile graphics.
6.   A representative sample of students with visual impairments
     must be included in any field-testing of the assessment, as
     prescribed in Standard 10.3 (p. 106) of the Standards for
     Educational and Psychological Testing (1999).
7.   All practice materials must be provided in accessible format at the
     same time that print practice materials are provided. Allow
     sufficient time for accessible format preparation.
8.   Provisions should be made to conduct item analyses for accessible
     format test items.




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               Accessible Test Development
1.   To ensure that quality materials are developed, state assessment
     programs should contract with an agency or persons experienced
     in producing braille, tactile graphics, large print, and audio formats.
     If a multimedia presentation is to be used by test takers, it is
     important that the accessible media producer(s) coordinate pre-
     sentation of the test items between each of the media.
2.   Production of the alternate format test includes the editing, tran-
     scription, reformatting, design, and proofreading of the
     alternate media.
3.   Holding a conference call with all parties involved before the
     accessible media producer begins to review/ edit the test items helps
     to maximize a successful experience and end product.
4.   The name and phone number of the customer's primary contact
     person needs to be provided to the producer of accessible media
     to facilitate timely production.
5.   Accessible format producers will need access to a primary contact
     person, as well as item specifications that include information
     about the skill and construct being assessed.
6.   Test items should be deleted or substituted only if the item cannot
     be provided in braille, tactile graphics, large print, or audio format
     without significantly changing the item and the intent of the
     question. Although not recommended, some test items may need
     to be omitted if they are not adaptable as determined and advised
     by item reviewers with expertise in the format under consideration.
     The deletion or substitution of items should happen infrequently,
     particularly if educators with specialization in visual impairments
     have been involved in the item development process. Attention to
     universal design during test development will also reduce the
     probability that a test item will have to be deleted.
7.   If items are omitted in alternate versions, the test score
     must be rescaled so that braille, large print, and audio format users
     are not unfairly penalized and so that scores can be obtained for
     diagnostic and accountability use. The original numbering system
     should be maintained and the word “omitted” inserted in place of any
     item that had to be omitted.
8.   Responses from the primary contact person regarding questions and
     requests for substitutions require a quick turn-around time in order to
     ensure accuracy and timeliness of delivery of accessible media.
9.   Substituted items should assess the same skill and have equal
     value and validity. Substituted items must maintain the correct
     answer in the same position as that of the original test item.



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10. All field test items and sample questions must be included in
    accessible format test versions.
11. Test contracts must indicate preferred publication strategies, such
    as brailling on both sides of the braille paper (referred to as
    interpoint braille), preferred methods of producing tactile graphics,
    and binding of the braille test materials. Assistance with determining
    these specifications is available from APH.
12. Braille tests are generally produced using contracted braille, the
    typical method for producing braille in which short forms of words are
    used. If the test is for a young child, a new braille reader, or
    someone struggling to learn braille, a test may be needed in
    uncontracted braille, whereby every letter of every word is
    represented by an individual braille cell.
13. The format of an accessible media test edition must follow the
    print format as much as possible. That is, ideally the number of
    test items and test sections should match that of the print format,
    as should the order of the test items and test sections. Deviations
    from the print version of the test must be outlined in a print copy of
    Test Administration Notes for the altered format. Test Administration
    Notes must include reference to print versions with associated
    accessible format page numbers, identify passages and items by page
    (print and alternate format), and provide indication of any changes
    made to the alternate format. Appendices B and C contain templates
    for creating Test Administration Notes for braille and large print
    formats.
14. Special requirements, such as an independent proofreading of test
    materials, exact print reproductions of the braille/tactile test items,
    or any print labels to be included on braille or tactile graphics need
    to be considered and included in the contract.
15. APH's policy in accessible test production includes close collabora-
    tion with, and approval from, test publishers and content
    specialists to ensure that edited items are acceptable as edited.
16. Test security and confidentiality standards must be upheld during
    the process of developing accessible formats.

                      Test Administration
1.   Computers and adaptive technology, electronic note takers,
     cassette player/recorders, the cassettes, CDs, etc., must be
     inspected for proper functioning prior to their use during a test.
     The test administrator or proctor should be instructed on how to
     proceed if equipment fails or malfunctions during administration of
     the test.



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2.   Each test administrator or proctor of a student using an alternate
     medium test or a combination of media should be assigned a
     testing packet that includes a list of materials needed (approved
     technology or other manipulatives, such as a talking calculator,
     braille or large print ruler, braille paper, bold line writing paper,
     raised line graph paper, etc.)
3.   The test administrator or proctor must ensure that special
     tools and materials noted on the student's IEP and used for
     instructional purposes as accommodations are available, as
     needed, to students in the test-taking environment. For example,
     if a visually impaired student routinely uses an abacus in the
     classroom when sighted students are allowed to use a pencil and
     paper for computational purposes, then an abacus must be
     available during a test. See Appendix D for further explanation on
     the use of an abacus in test-taking situations. Specialized tools
     and materials should not be provided if their use presents an
     unfair advantage.
4.   In preparation for test administration, the test administrator needs
     to review the original test(s), the alternate format/s of the test/s,
     the original test administration manual(s), the test administration
     manual/s for accessible media, and the test administration notes
     for the special format/s. These materials should be provided to the
     test administrator under secure and confidential means two full days
     prior to test administration. This time is needed so the test
     administrator can plan appropriately for administration of the test(s)
     in alternate media.
5.   Prior to testing, the test administrator or teacher must ensure
     that the test is available in a student's primary or preferred reading
     medium or combination of media, and that the student has sufficient
     proficiency in use of this medium and related tools such as
     computers, assistive devices, CD players, or braillewriters.
6.   If students are expected to bring select tools and materials to the test
     environment, they need to be notified of this ahead of time.




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            BRAILLE AND TACTILE GRAPHICS
The information in this section describes methods for developing and
implementing assessments for students with visual impairments who
require braille text or tactile graphics. While some technology provides
auditory access to print, braille is critical to literacy and must be an
option for those students who routinely use it. See Appendix A for a
discussion of braille versus auditory access.

Generally, learning to read braille is no more difficult than learning to
read print. The tactile process is different from the visual process and
creates the following considerations:

  •   Braille (tactile reading) consumes more time than does visual
      reading, as students who read braille typically read at fewer words
      per minute than do students who read print (Trent & Truan, 1997),
      and
  •   Braille reading requires tactile training in page orientation and
      reading and interpretation of tactile graphics.

                    Designing Tactile Graphics
The following are aspects of test items that need special consideration
when reviewing and designing for production as tactile graphics:

  •   Complicated graphics that contain multiple layers or pages of
      information
  •   Three-dimensional objects from a particular visual perspective, e.g.,
      a top view of a house or pyramid
  •   Rotation items that use letters of the alphabet (print letters
      rotated or flipped)
  •   Science items that use pictures to demonstrate
      experiments and other scientific concepts or processes (cell,
      digestive or muscle systems, etc.)
  •   Map reading items that depend on visually recognizable and
      unlabeled continents, countries, or states, e.g., Africa, Italy, or
      Florida
  •   Visual recognition items (interpreting a picture without supporting
      text)
  •   Items that require interpretation of complicated drawings, e.g.,
      cross-sections of diagrams
  •   Optical illusions


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These types of items frequently require extensive revision during the
production process. For example, a text-based description in addition to
the tactile graphic may be needed. The accessible media producer may
request a test publisher to substitute such items with those that can be
made more accessible and which will retain similar, if not identical,
concepts and have the same weighted score.

     Braille Translating (Transcription) Process
Consideration of the following points will facilitate the production of test
materials in braille format for students with visual impairments:

1.   Test developers and publishers must ensure that contracts for braille
     materials specify the use of braille transcribers who are certified by
     the National Library Service (NLS), experienced at transcribing tests,
     and knowledgeable of braille formats. Braille formats must be
     modeled after those of the Braille Authority of North America (BANA)
     Guidelines, found in Braille Formats: Principles of Print to Braille
     Transcription, 1997.
2.   As a test is edited for braille transcription, necessary changes will
     be made to make the material accessible to braille readers.
     Correct braille transcription also requires that BANA specifications
     be observed. Simplification and/or labeling of some graphic material
     will likely be necessary. Simplification entails the elimination of some
     artistic features, removal of some superfluous material (without
     eliminating distracters and other text material that is necessary to
     maintain the validity of the test item), or movement on the braille
     page of some text or graphic components for more efficient
     readability by the braille reader (moving a scale, legend, or compass
     rose on a map to a different location). Even simple tactile graphics
     can be very difficult to interpret; some additional labeling may be
     needed for the test taker to read and understand the tactile graphic.
     Note that simplification and labeling are done relative to the
     construct being tested. If during the test editing process, it is not
     clear what is being tested, the test publisher will be consulted for
     clarification.
3.   Reproduced references, such as tables of content, dictionary pages or
     indices, may need to be shortened in the braille test version while
     maintaining correct answer choices and foils. This is done to contain
     the braille item to one page, if possible.
4.   Provision of open-ended items in braille format must indicate to
     the braille reader the amount of space provided for the answer.
     Directions must specify the space provided by suggesting the time


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    needed to complete the item or by indicating the approximate
    page area or the number of lines or paragraphs. Generally, one page
    of print is equal to about two pages of braille unless graphics are
    involved which will add to the page length. Directions may indicate
    that there are four print lines or eight braille lines available for
    responding.
5. Unnecessary boxes and framing of material may be omitted
    unless the framing provides a separation of graphic material from
    text or encloses a group of scattered or randomly placed objects.
6. Specific braille codes exist for transcribing literary works,
    mathematics, and science materials into braille. When brailling the
    content of the print version of the test, braille transcribers must
    follow the standards of code for braille transcription. These codes
    are provided in English Braille American Edition, 1994; The Nemeth
    Braille Code for Mathematics and Science Notation, 1972 Revision;
    and Braille Formats: Principles of Print to Braille Transcription, 1997.
    All three manuals are available from the American Printing House for
    the Blind.
7. An experienced braille proofreader must be utilized for proofreading
    all materials and, in particular, examining all tactile graphics to
    ensure readability and accuracy.
8. Experienced braille readers might also need to transcribe students'
    braille responses into print for scoring. See the section on Guidelines
    for Braille and Large Print Test Response Transcription.
9. Braille versions of a test may include transcriber's notes (notes to the
    braille reader from the braille transcriber about the use of special
    symbols, and use of any special formats). Transcriber's notes must
    be written in print within the Test Administration Notes for Braille
    Edition (Appendix B). The number of transcriber's notes in tests
    should be kept to a minimum.
10. Test security and confidentiality standards must be upheld by braille
    test transcribers, tactile graphic designers, and proofreaders. This
    includes the following:

  •   Keeping testing materials in a secure place to inhibit access by
      unauthorized persons,
  •   Not sharing information or implying content contained in the
      testing materials with other persons,
  •   Maintaining discretion about the work being performed,
  •   Returning all materials to the contracting source, and
  •   Maintaining confidentiality of test content.




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                           Tactile Graphics
This section offers information regarding the use of tactile graphics when
testing students with visual impairments. Graphic material, which
includes maps, charts, graphs, diagrams, and illustrations, frequently
contains information that is difficult to present in a tactile format.
Research supports the use of tactile graphics and "the idea that visual
experience and visual imagery are not required for the perception of
simple tangible pictures . . ." (Heller, et al., 2002, p. 349). It is possible
to provide many types of graphic material in braille or raised line
drawings. However, certain types of graphic materials either cannot be
provided in braille or tactile formats, or they are so complex that doing
so produces a graphic that cannot be read and interpreted by the test
taker.

Most maps, charts, graphs, and diagrams can be translated into tactile
form if the test publisher will allow some editing. Editing could involve
eliminating the shading used solely for visual effect, reducing the number
of distracters, providing two or three charts to present the same
information as one complex print chart, using text based descriptions to
supplement or replace graphics, or using symbols and words with a key
to provide information. Edits needed to convert print graphics to tactile
graphics need to be approved by test developers or publishers.

Most print materials use graphics to emphasize a point, provide another
format for information, or provide visual appeal. Because graphics are
common in text, training in reading graphic material and interpreting a
written description of a graphic are important skills for the student with
a visual impairment to learn. Guidelines for tactile graphic materials are
described on the next few pages in terms of general guidelines, design,
symbols, lead lines, labels, and indicators and scale.

General Guidelines:

    1.   Graphics in mathematics tests must follow provisions of The
         Nemeth Braille Code for Mathematics and Science Notation, 1972
         Revision, BANA (1983).
    2.   Decide if a tactile graphic is needed. Omit the graphic if it is
         purely decorative. Consider using a text based description to
         either supplement or to replace all or part of a graphic.
    3.   Graphics should be tactually clear and contain only relevant
         information based on an understanding of what is being taught


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       and what the student’s task is. Visual information that is
       irrelevant to the meaning or purpose should be omitted.
   4. Graphic material should be simplified without omitting needed
       information or creating an unfair advantage by alluding to the
       answer.
   5. Picture descriptions should be presented concisely within the
       student's test booklet if information in the picture is vital to
       answering one or more test items.
   6. Picture descriptions will appear as needed in transcriber's notes
       in appropriate places throughout the test and must be included in
       the Test Administration Notes.
   7. Some graphics are best handled by supplementing the image
       with a heading, label, description, or key. Edits must be made
       carefully so that the braille reader is not unintentionally given an
       advantage or cue to the correct response.
   8. Consider splitting complex graphics into separate drawings
       showing layers of information, unless this adds complication for
       the test taker.
   9. In general, use texture to add information and draw attention to
       select parts of a tactile graphic.
   10. When necessary, to avoid confusion and accentuate important
       information, use different areal symbols (texture) to differentiate
       between bodies of water and land on maps.
   11. Charts and graphs should be confined to one page when possible.
       If graphics and the accompanying test item require more than
       one page, use facing pages to present graphics and the
       accompanying test item if possible.
   12. If a braille test taker is asked to produce a graphic as part of the
       test item, such a task can be achieved through the use of tactile
       graphic materials that are familiar to the braille reader. Another
       option that may be acceptable to test developers is for the
       student to describe or explain data or other information. This
       option must be approved by the test contractors and included in
       the scoring criteria. The test administrator and the braille
       reader’s teacher, using the braille reader’s current IEP, must
       collaborate prior to the administration of the test to ensure that
       appropriate materials are provided. For the purpose of scoring,
       student-produced graphics will need to be hand-scored or
       transcribed into a print graphic by persons familiar with braille,
       braille readers, and the content area being tested. See section
       on Guidelines for Braille and Large Print Test Response
       Transcription.




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      13. An experienced braille reader must proofread all tactile graphics
          prior to mass production of the braille test to ensure readability
          and accuracy.

(Kapperman, G., Heinze, T. & Sticken, J., 2000; Poppe, K. & Otto., F. 2002; Ross, D.
B. & Robinson, M. C., 2000; Spence, D. & Osterhaus, S., 2000)

     Design:

1.    Avoid clutter and simplify.
2.    “Clutter” occurs when different symbols and lines are so close or so
      similar that they become hard to distinguish. Spacing is the key to
      avoiding clutter.
3.    Symbols and lines closer than ¼” may be difficult to differentiate,
      depending on the medium and tools being used.
4.    Shapes with sides less than ½” long may not be recognizable.
5.    Use different textures for lines so that test takers know which part of
      a line to follow when two or more line segments cross or meet.
6.     “Simplify” means to eliminate unnecessary elements of the original
      picture. Focus on the relevant parts and omit details that are purely
      decorative or distracting.
7.    When the print picture includes people, animals, objects, etc., replace
      them with simple lines, symbols, and/or labels (e.g., use the label
      “hand” instead of drawing a hand or use a triangle instead of a cat or
      dog).

     Symbols (Lines, Points, and Textures):

1.  Limit the lines, points, and symbols on a drawing to those that can be
    easily differentiated by touch. Use the most prominent symbols for
    the most important features in the graphic. Avoid high or “noisy”
    texture, which draws attention away from the key features.
2. Be consistent in using symbols within graphics of the same type
    within the same transcription (e.g., always use the same symbol for
    water on maps).
3. Use different tactile symbols for different types of information (e.g.,
    in a map of the United States, the tactile line used to indicate state
    borders should differ from the tactile line used to indicate
    international borders).
4. Lines, points, and braille must be physically separated by at least
    1/8”.
 a. This distance may need to be extended to at least ¼ inch depending
    on the medium and symbols used.



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 b. Apply the 1/8 inch separation rule to all features that are separate,
    even if doing so introduces some spatial distortion.

     Lead Lines:

1.  Use lead lines only as needed; options for lead lines include use of
    keys or notes.
2. Avoid using arrows as lead lines.
3. The linear symbol used for lead lines should be different from any
    other lines used in the graphic and should be tactually distinctive but
    less prominent, such as a low relief raised line.
 a. A lead line should begin as close as possible, without causing
    interference, to either the first or the last letter in the label, and it
    should end as close as possible to the feature being labeled.
 b. In general, a lead line should not cross over another line. When this
    is unavoidable, it may make the graphic more readable by breaking
    the lines of the graphic to allow the lead line to “pass through.”

     Labels and Keys:

1.    Explain and define all graphic symbols.
2.    Identify all important features (e.g., capitals, bodies of water, etc.) of
      the graphic, even when not labeled in the print version. Place titles
      at the top of the page. Avoid making unlabeled graphics. Exceptions
      may exist in some testing situations.
3.    Position labels closely to the objects to be identified to better ensure
      recognition. Single letters on the graphic should be preceded by
      either the letter sign or the capital sign.
4.    Use two-letter U.S. postal codes where applicable (and other two-
      letter codes where postal codes are not applicable) for labeling state
      names on maps.
5.    Words in labels need not be capitalized if their meaning will not be
      confused and rules of punctuation are not violated.
6.    Place all abbreviations in a key and place the key above the tactile
      graphic.
7.    Present all braille labeling within tactile graphics horizontally.

     Indicator and Scale:

1.    Graphics depicting measurements must maintain accurate and true
      proportions to match the answer choices. If answer choices must be
      changed, the correct response must be located in the same position
      as the original correct response option.



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2.   Position scale and other indicators as consistently as possible,
     preferably above the accompanying tactile graphic.
3.   When it is necessary to change the scale, this fact may need to be
     indicated in a transcriber’s note.




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   LARGE PRINT TEST FORMATS AND GRAPHICS
Some students with visual impairments read regular print materials and
enlarge the print, as needed, by using optical devices. Some read large
print materials. This section offers information regarding the develop-
ment and implementation of assessments for students with visual
impairments who require large print materials. Generally, two popular
methods exist for enlarging tests. The regular print test can be enlarged
through photocopying, or an electronic version of the test can be
manipulated to reformat test items and enhance the readability of text
and graphic as needed. The latter method is preferable unless issues
outlined in this section have been addressed during the test development
and the regular print test has been designed using universal design
principles. Manipulating an electronic version of the test can best yield a
large print version that incorporates the optimum reading mode for the
student who uses large print.

Generally, reading skills that are difficult for a person with low vision who
reads print include the following:

          Reading at a speed commensurate with regular print readers,
          Reading for extended periods of time,
          Visual scanning and skimming of text,
          Shifting gaze from a picture or graph to test item and back
          again,
          Shifting gaze from test booklet to answer sheet documents,
          Visually capturing an entire picture,
          Moving from one line of text to the next,
          Locating pictures and text presented in random locations on
          page,
          Interpreting pictures (particularly complex pictures),
          Differentiating between subtle colors and patterns used in
          pictures or graphs, and
          Filling in answer choices on regular print answer documents.

Consideration of these points, particularly in relation to universal design
of test format and printed text, will facilitate the production of test
materials in large print format. As well, most of these guidelines are
applicable to regular print tests that may be used by students with low
vision. Information provided on font, spacing, shading and contrast,
pagination, and test booklets is a summary of work done by Elaine
Kitchel, presented as "Reading, Typography, and Low Vision," a PowerPoint
presentation (APH, 2002). Research completed by G. E. Legge et al.,


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(Reported in "Psychophysics of Reading" 1985 through 2002 in Vision
Research) supports the guidelines listed in the following section.

                               Test Format
1.   Large print versions of a test and test practice materials should be
     reformatted from the regular print version so that adaptations can be
     made to font style, print size (point size), line length spacing,
     shading, graphics, and the number of items on a page.
2.   Text should consistently begin at the top left-hand side of a page.
     Titles of pictures or graphs should appear at the top of the graphic.
3.   Labeling should be presented horizontally rather than vertically as a
     general rule. Exceptions may be labeling of y-axes on graphs, etc.
4.   Items that typically present the most difficulty during conversion to
     large print format include the following:

          Complicated, multi-shaded drawings with extensive details,
          Grayscale drawings that provide little contrast,
          Colors that cannot be differentiated by persons with color
          blindness,
          Large maps that cannot be contained on one page if enlarged,
          Extensive charts with multiple columns, and
          Charts and graphs that extend over several pages.

5.   If testing materials are enlarged merely through photocopying
     (not recommended), the font size will vary depending on the original
     print font. When tests are enlarged, the font size of all text,
     including labels on graphs, rarely meets the 18-point size required.
     Enlarged materials must be reviewed and proofread before mass
     copying or distribution to ensure that print and background contrast
     are adequate, that pictures and graphs are readable and complete on
     the page, and that items assessing measurement are accurate and
     have viable answer choices.

                                     Fonts
1.   Print measuring 18 points or larger is considered large print. Point
     sizes between 12 and 16 points are considered enlarged print.
2.   Occasionally a test in a print size larger than 18 point will be
     requested. In such cases, the publisher must determine if material
     can be adequately presented in a larger point size.
3.   Decisions about the size of print and font style must be made by
     the test publisher and discussed with a person who has knowledge
     of large print use and the intended test takers.


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4.   Font styles that are decorative or cursive should not be used.
     Standard sans serif fonts with easily recognizable characters are
     recommended. Verdana, APHont, Arial, Antique Olive, and Helvetica
     are reliable choices for readability. Note: APHont, a font for people
     with low vision, developed by the American Printing House for the
     Blind (APH), embodies characteristics needed by low vision readers as
     identified by research. A free version of APHont is available from APH
     at http://www.aph.org/products/aphont_get.html.
5.   Large print should have x-heights (distance from the top to
     bottom of a lower case “x”) and t-heights (distance from the bottom
     of the "t" to the cross bar of the "t") of at least 1/8" with a
     thickness of 2 points. Eighteen point Verdana, APHont, Antique
     Olive and Helvetica meet this standard.
6.   The use of bold print, underlined print, or quotation marks for
     highlighting text is preferable to using italics. Italics should only be
     used when absolutely necessary. Sample test items, if provided,
     should be presented in the same font size and style as that used for
     the actual test items. Letters incorporated into math problems, e.g.,
     letters within algebraic equations, are also more readable when
     displayed in a non-italic, sans serif font.
7.   Headings and subheadings (captions, titles of diagrams and charts)
     should be larger and bolder than other print and set in a font style
     that differs from that of the general text. Acceptable typefaces for
     this use include Arial Black, Helvetica Black Bold, Lucida Sans Bold,
     Era Bold ITC, Verdana Bold, Antique Olive Bold, and Helvetica Bold.
8.   All text, including labels and captions on graphs, pictures, diagrams,
     maps, charts, equations, exponential numbers and letters, subscripts
     and superscripts, notes, and footnotes, must be presented in at least
     18-point type, in order to meet the APH definition of large print
     (Kitchel, 2001).

                                    Spacing

1.   Leading or spacing between lines should be at least 1¼ spaces to
     allow persons with low vision to effectively move from line to line
     in the text.
2.   Block style formatting and 1" margins are recommended.
3.   Format should include justification of left margins, and unjustified
     right margins (rag right) for ease in reading and transferring from
     line to line. Avoid the indentation of paragraphs.
4.   Avoid dividing words between lines.
5.   Columns of text, excluding graphic material, should be at least 39
     characters in line length. Generally, for efficient reading, columns
     should be avoided.



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6.   Test items and accompanying diagrams, pictures, and graphics
     should be located close to each other and on the same page if
     spacing permits. If this is impossible, test questions, diagrams, and
     answer choices should be placed on facing pages or follow closely so
     that page turning is reduced to a minimum.
7.   Research indicates that readers with low vision and readers with
     normal vision read a wide-bodied font faster and with better
     comprehension than they read a variable-spaced font (Mansfield, &
     Legge, & Bane 1996).

                            Shading and Contrast

1.   Grayscale and shading should be avoided, particularly when
     information needed for answering a test item is provided.
2.   The highest possible contrast should be used for text and back-
     ground, with attention to the use of color. Certain color combi-
     nations other than black and white may be unreadable to
     persons with low vision or persons with color blindness. A good
     rule of thumb on use of colors is to use colors that are far apart on
     the color wheel and avoid using colors that have similar saturation
     (color depth). Blue and yellow, for example, provide a high degree
     of contrast when used together. Red and green should be avoided
     because they are the most troublesome colors for persons with color
     blindness.
3.   Large print must not be used over a background design or other
     graphic material.
4.   Glossy paper may cause unnecessary glare. Dull finish paper in white,
     ivory, cream, or yellow is recommended and best complemented
     with black print.
5.   Unnecessary boxes and framing of material should be omitted unless
     the framing provides a separation of graphic material from text or
     encloses a group of scattered items.


                     Cautions for Use of Recycled Paper

Whether recycled paper is appropriate or not for use by individuals
with low vision depends on its color and its thickness. The color
cannot tend toward gray, blue, or green. If it is slightly gray, blue, or
green (and many recycled papers are) it can substantially reduce
contrast. What seems like a minor contrast difference to a sighted
person can be a big contrast difference to a person with low vision.
However, if the tint of the paper tends toward beige, peach, pink, or
yellow then it would be fine. In addition, there should be no speckles


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in the paper. Best color choices for recycled paper would be cream,
beige, or white. Finally, the paper should be thick enough to prevent
bleed-through of inks. The paper needs to be thick enough to allow
printing on both sides of the sheet with no bleed-through. The same
cautions apply to materials for persons with color blindness or color
vision deficiencies (Kitchel, 2009) (see section on color vision issues
below).

                                  Pagination
1.   Repagination of original test materials is preferable to increasing the
     overall page size.
2.   While double-sided pages are generally preferable, avoid double
     sided copying if print will "bleed" or show through or otherwise
     obstruct clear reading.
3.   Where blank pages must appear, type the words "Blank Page"
     near the top left hand side of the page.

                          Format of Test Booklets

1.   Depending on test length, large print copies may need to be
     separated into several booklets.
2.   Generally, the test booklet should be no larger than 9" x 12",
     particularly for young students as well as other students with various
     physical conditions.
3.   The binding of the large print booklet(s) should allow each page to
     lie completely flat for whole page viewing and ease of handling.

                         Large Print Graphics
The following guidelines provide information concerning the use of
graphics in testing students with visual impairments who use large print
formats. Work by the Large Print Atlas Focus Group (2001), who met at
the American Printing House for the Blind, is included in this discussion.

The complexity of some graphic materials prohibits their being provided
in large print unless they are modified to become more readable when
enlarged. Most maps, charts, graphs, and diagrams can be enlarged if
the test publisher agrees to some editing. Editing could involve the
elimination of shading, the reduction of some distracters, the insertion of
a key, or the separation of one chart into two or three.

Guidelines for large print graphics include the following:



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   1.    Graphics in large print must exhibit good contrast, clarity, and
         accurate details and information.
   2.    No test item should rely solely on a picture for information
         needed to answer the test item. In consideration of universal
         design, include a text description of every non-text item.
   3.    Generally, pictures should be retained in the large print format.
         Editing for shaded material and clarity may be necessary. Some
         pictures that would need extensive editing and provide little or no
         cues for the large print reader may be considered for elimination.
         Purely decorative graphics should be deleted.
   4.    Overlaid print on a diagram or graph should be avoided. While
         visually pleasing in some instances, this technique is difficult for
         persons with low vision to read.
   5.    Multi-color graphs that use closely related colors may conceal
         vital information from the test taker who is unable to
         distinguish between the colors. Two to three contrasting colors
         or black and white are recommended.
   6.    All graphs should contain short, descriptive headings or titles.
   7.    Compass points, numbers, and vital information on graphs must
         be enlarged sufficiently for the low vision reader.
   8.    Map symbols must be easily distinguishable and relevant.
   9.    Map legends should appear near the top left hand corner of a
         map, if possible, and include a visually distinctive border. Use
         contrasting colors and distinguishable symbols rather than
         reproducing different sizes of the same symbol.
   10.   If possible, map scales, too, should be positioned near the top
         left-hand corner of the map.
   11.   Labels should be arranged within the boundaries of the country or
         state borders whenever possible.
   12.   Symbols used should be reasonable and meaningful
         representations, e.g., a fish for fishing.
   13.   Boundaries between countries should be bolder and thicker than
         boundaries between states or provinces on a map.
   14.   Pictures and graphs used in test questions requiring measurement
         must be true to the size intended in order to ensure that a
         correct answer is available.
   15.   Test publishers and contractors will need to address the degree of
         accuracy that is expected for questions involving measuring or
         drawing. For example, some large print readers may not be able
         to distinguish between 7/16" and 8/16" on a ruler. If at all
         possible, specially designed measurement devices, such as large
         print rulers and protractors, should be provided for students in
         both the classroom and testing situations.



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   16. If a graph or table does not exceed one page in the original
       materials, then the large print version should be edited to fit on
       one page, if possible. Pertinent information and distracters must
       be maintained.




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    USES OF COLOR FOR SIGNAGE, GRAPHICS,
       TEXT, TESTS AND POWERPOINT
  PRESENTATIONS TO BE VIEWED BY PERSONS
      WHO ARE COLOR BLIND OR COLOR
              VISION DEFICIENT
                               Introduction
Color is critical to the conveyance of meaning in signage, graphics, text,
PowerPoint® presentations, tests, and other written presentations.
However, some people, specifically those with color discrimination difficulties,
need special consideration when color planning for educational purposes.

Virtually all color-deficient individuals have varieties of red or green
deficiency. (Blue deficiency is rare indeed, with only about .001% of the
population having it.) Color blindness is normally diagnosed through clinical
testing by a licensed practitioner.

                             PROBLEMATIC AREAS

When one considers educational materials for students who are color blind or
color deficient, some problematic areas come to mind:

          Use of gray-on-gray bubble sheets on test answer sheets
          (scannable answer documents)
          Maps with indistinguishable adjacent colors, such as coloring Spain
          brown and Portugal green
          Graphs with indistinguishable adjacent colors
          Use of text over graphic backgrounds, as when a poem or other
          text is superimposed over a photo or drawing
          Test questions which depend upon color identification for correct
          answers

               PREPARATION OF MATERIALS FOR PERSONS
                WHO HAVE COLOR VISION DEFICIENCIES

Color is one of the most important aspects of visual communication and can
be employed to generate interest or to communicate ideas or feelings. Yet
colors for an audience with members who have color discrimination problems
should be selected carefully to avoid conveyance of unintended meaning.
This is especially true in educational and testing materials. Many of these
materials rely on good color perception for the interpretation of graphs,


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charts and illustrations. Yet even the most carefully thought-out graphic may
lead the user to an incorrect answer because of poor color selection.

    Select colors carefully. Besides black and white, most color blind
    individuals can only see two colors, blue and caramel (golden brown).
    Red, yellow, orange, and green take on shades of caramel; purple takes
    on shades of blue when viewed by a person with colorblindness.

    Less is more. Too many colors used thoughtlessly can confuse and
    negate the message of a graphic. Settle on four or fewer colors and stick
    with them. Black and white are counted as colors when designing
    graphics, even though they are not usually considered colors when
    talking about vision.

    Use contrasting colors. Contrast is an important influence on the
    legibility of graphics, especially for persons with color discrimination
    problems. Substantial contrast, i.e., the use of dark values with light
    values, between the color of the foreground and the background should
    be employed. High contrast makes materials easier to read by both
    persons with colorblindness and those with typical vision. Light letters on
    a dark background or dark letters on a light background are most
    legible, but remember the actual colors of those combinations are
    important.


   CONTRASTING COLORS APPROPRIATE FOR PERSONS WITH COLOR
                 PERCEPTION DIFFICULTIES
                (in order of best contrast value)

          Use black and white.
          Use dark blue and white.
          Use black and bright yellow.
          Use dark blue and bright yellow.
          Use dark brown and white.
          Use pale blue and black.
          Use yellow and purple.

Notice that yellow is recommended as a common color for graphics to be
used by persons with poor color discrimination. This is because yellow
maintains luminance longer than any other color. Even though it is perceived
as a light caramel color by persons with color blindness, it holds its
brightness longer than any other hue, and therefore maintains its contrast
when paired with a dark color.



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                 COLOR COMBINATIONS TO BE AVOIDED

          Avoid gray with any color, even another value of gray.
          Avoid red with any color except white or blue.
          Avoid green with any color except white.
          Avoid brown with any color except white or blue.
          Avoid purple with any color except yellow or white.
          Avoid orange with any color except blue or white.
          Avoid two values of the same color, such as light blue and dark
          blue.
          Avoid a neutral color with any other neutral color.

The importance of proper attention to color selection cannot be overlooked
when developing tests for individuals or groups that have color vision or
color perception deficiencies.




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                   GUIDELINES FOR AUDIO
                    VERSIONS OF TESTS
This section is written to provide assistance in the development and
implementation of accessible tests for students with visual impairments
who require audio versions of a test. Audio formats include cassette tape,
video, CD, computer-based, or spoken (read aloud) test versions. When
an audio version of a test is administered, the audio version should be
accompanied by a print, large print, or braille version of the test, or a
large print or tactile graphic supplement at the very least. In this multi-
media approach, a student can access illustrations or other visual
material that may not be described, or only minimally described, on the
audio version of the test.
Some illustrations can be described orally in an accurate manner, while
other graphic material cannot be described without revealing the answer
or providing an unfair advantage to the audio user. A complete script for
audio versions should be written with the assistance of a content expert
and provided to test administrators.

Audio versions of a test serve to standardize oral delivery of the test
content and may reduce the number of school staff needed for proctoring
or administering tests orally. Consideration of these points will facilitate
the production and administration of test materials in audio format. (See
Appendix A for a discussion regarding braille versus auditory access.)

                         Production of Audio Tests

1.   Test publishers may only have the capability of providing one version
     of a test in audio format. The version selected should be parallel in
     content and difficulty to other versions.
2.   An experienced test editor should be involved in editing for an audio
     presentation of a test. The audio edition will need to be coordinated
     with other media in which the test will be provided.
3.   Audio versions should be developed using the resource The Art and
     Science of Audiotape Book Production published by the National
     Library Service for the Blind and Physically Handicapped, Library of
     Congress. Requirements for narrator, monitor, and proofreader are
     provided in this document.
4.   The National Braille Association in Tape Recording Manual, Third
     Edition (1979) provides instructions for reading mathematics
     instructional materials. This source recommends that graphic
     materials be described, if possible, and accompanied by print or
     tactile versions of the graphics. Such modifications need to be


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    approved by the test publisher. Moreover, the audio descriptions,
    print, and tactile versions of the material need to be coordinated. If
    different departments within the same company or different vendors
    are responsible for developing and producing the accessible media,
    one source should be responsible for ensuring that the media are
    coordinated to the extent specified.
5. Narration of print materials must follow National Library Service
    (NLS) specifications of minimum acceptable requirements
    (Specifications #300 and #304).
6. Test publishers must ensure that narrators follow confidentiality and
    security assurance standards of test materials. Security measures
    taken when working with audio formats should mirror those required
    for handling print or braille materials (Kentucky Core Content Test
    Administration Manual Supplement, 2000).
7. Test publishers must give attention to packaging and labeling of the
    audio test. Audio tests may be packaged for each individual student,
    with the appropriate print and/or braille supplements needed by the
    student and the test administrator.
8. Ascertaining whether the audio format will be administered on an
    individual basis or in a small group setting is important, as the
    information on the audio format and the information to be provided
    by the test administrator may vary depending on the setting.
9. The audio test should instruct the student to stop at certain
    points. Audio procedures must ensure that test takers work only on
    allowable sections of the test. For example, selected subtests may be
    recorded on separate cassette tapes or CDs and then collected as
    required.
10. Directions for navigating through the audio version should be
    provided in print for the test administrator.
11. Test publishers must select an experienced narrator with appropriate
    voice, speech, accuracy, and pronunciation skills. (Pronunciation
    resources are available from NLS.)
12. Narration must be evaluated and proofread to ensure that test
    content is conveyed accurately and that questions are presented
    without unintended emphasis on correct answers.
13. A person with identical test materials should monitor the narrator to
    ensure accuracy during audio production. A third person should be
    used for the proofreading of audio materials.




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             Administration of Test Items in Audio Formats

1.   Students using audio versions of a test should have had an adequate
     amount of experience using the specific audio medium and audio
     equipment independently before the testing situation.
2.   Test administration materials should indicate the equipment
     required by the student for using audio versions of a test. For a
     cassette tape version of a test, a standard two-track tape player/
     recorder and headphones will be needed. An audio test on CD will
     require use of a common CD player or a digital talking book player,
     depending on the audio file type of the CD. Regardless of the player
     used, a backup player capable of playing the same audio medium
     should be available. Access to electrical power or sufficient batteries
     for player/recorder use should be indicated. Test administrators
     should be instructed to inspect the equipment functions before
     testing begins.
3.   Test administrators will need to monitor student "movement"
     through audio versions to ensure that the student maintains the
     appropriate place in the test and to ensure that the audio version is
     playing properly. When using a two-sided cassette tape, students
     may need to be reminded to play the other side of a tape. Prior to
     administering the test, and in the absence of students, test proctors
     should spot check audio formats to ensure proper operation of the
     audio medium and equipment.
4.   Students using an audio version of a test must be seated in a quiet
     area and away from other students so that other students are not
     disturbed by the audio medium or equipment operation. Students
     can choose to use headphones.
5.   Provisions must be made in the test administration manual for the
     malfunctioning of audio equipment. Students may have to be tested
     at a later time if malfunctioning occurs. Students must not be denied
     access to the administration of a test because of equipment
     malfunctioning or failure.




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           GUIDELINES FOR ORAL READING OR
                  SIGNING OF A TEST
Students who are visually impaired or deafblind may need the accom-
modation of a reader or sign language interpreter. Occasionally, an audio
version of a test is not produced, and a test publisher, developer, or
assessment personnel will allow the reading or signing (use of sign
language) of a test or portions of a test for students whose Individual -
ized Education Program (IEP) specifies this accommodation. Before using
oral reading or sign language as an accommodation, careful attention
must be given to the constructs being measured. For example, if a
section of the test is designed to assess reading as a decoding skill, then
the reading or signing of the test to a student would invalidate the results
for the intended purpose. In these instances, consider an alternate test
or redefine the construct for the individual student. Always check with
the test publisher or test developer to determine the construct intent
and accommodation use for particular sections of a test.

State policy dictates if passages and stimuli can be read aloud and/or
signed for large scale statewide assessments. Check with the District Test
Coordinator or with the State Department of Education assessment office
for the policy in your state.

For the oral reading or signing accommodation to be allowed on statewide
assessments, a student must have had exposure to and have used this
accommodation during daily instruction and on classroom tests. This is
especially true when mathematical symbols and technical or content-
related language is being read and accessed. It is recommended that a
student have access to print or braille graphic material even if the reading
or signing accommodation is used.

The Educational Testing Service recently posted on their web site ETS
Guidelines for a Test Reader (July, 2000), which have been made available
in Appendix G of this document through special permission from ETS. This
document is helpful in outlining the characteristics of a good reader,
providing general information for readers, indicating special considera-
tions for multiple-choice tests, addressing mathematics reading, and
providing test center procedures for using a reader. In addition,
consideration of the following points will ensure appropriate provision of
oral reading or signing of a test or portion of a test:

1.   Test security and confidentiality standards must be upheld.




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2.    The test purpose must be specified to ensure that reading or signing
      a test or portions of a test do not invalidate results or preclude how
      the results will be reported.
3.    An experienced test editor and professionals involved in working with
      students who require readers or interpreters need to be included in
      the team of persons that adapt tests which are to be read or signed.
4.    A prepared script must be provided for test administrators to ensure a
      consistent, standardized presentation of the test items.
5.    A reader or sign language interpreter must have skills in
      presenting various types of test materials. For example, someone
      familiar with mathematical symbols is needed in order to correctly
      read and convey higher level math formulas and equations.
6.    A standard video presentation of the test in sign language is
      recommended to ensure quality, consistency, pacing, and accuracy.
7.    The person selected to read a test to a student should have the
      characteristics of good voice quality and appropriate speed and tone.
8.    The person signing a test must be a trained interpreter and be able
      to translate in the same method of sign language typically used by
      the student. It is not recommended that the student's teacher be
      the interpreter for the testing situation unless a second person is
      present to monitor for quality and fairness during administration of
      the test.
9.    Voice inflection (regional dialect and pronunciation) familiarity is
      recommended.
10.   The narrator or interpreter must avoid voice inflection that stresses
      or otherwise indicates the correct answer.
11.   The interpreter must avoid facial expressions and body language that
      may cue the correct response.
12.   Students tested through oral reading of the exam must be tested
      individually to prevent the testing situation from becoming a group
      effort. Moreover, testing individually helps ensure that each student
      receives the specific oral reading structure required by his or her
      individual needs.
13.   Directions can be read or signed to groups of students.
14.   The interpreter or reader must be allowed to review test
      administration materials and items on the test to ensure that they
      have knowledge of the vocabulary/signs required for that
      assessment. This is important so that the reader/interpreter does
      not accidentally cue the correct response. The reader/interpreter
      should have access to pronunciation dictionaries, sign language
      dictionaries and technical skills manuals to use as references. It is
      important that the reader/interpreter sign a confidentiality agree-
      ment before reviewing the materials to ensure test security.



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15. Oral readers and interpreters will need to pause at appropriate
    intervals to provide the student an opportunity to answer test items
    or access graphic material provided in print or tactile formats.
16. Graphic materials may be described as detailed in the prescribed
    script, but must also be made available in print or tactile formats.
17. Oral readers or interpreters must avoid providing an answer to a
    student's question concerning clarification of testing content. Doing
    so would provide an unfair advantage. Developing some standard
    responses to students' questions prior to the testing situation is
    helpful. For example, you can encourage the student to listen to or
    watch the signing of the question again.
18. Readers or interpreters may need to provide multiple readings or
    signings of passages, parts of passages, or items. Unless instructed
    otherwise in the Test Administration Manual, professional judgment
    and any guidance provided in the IEP should be used to determine
    the number of readings necessary.
19. If the oral reader or interpreter is also completing an answer sheet
    for a student, the transfer of answers must be performed carefully to
    ensure that the student's answers are recorded as intended. See
    section on Guidelines for Braille and Large Print Test Response
    Transcription.
20. Two readers or interpreters should be used for presenting a test or
    portions of a test to a student. Using two readers or interpreters
    helps ensure accuracy of test presentation and provides the
    opportunity for readers or interpreters to rest after 15-20 minutes
    of presenting test material.




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    ACCOMMODATIONS IN TESTING STUDENTS
        WITH VISUAL IMPAIRMENTS

The use of accommodations during testing is intended to level the
playing field for any student with a disability. There are, by nature of
the disability, certain accommodations that are needed by students
with visual impairments. Not all of them discussed in this section are
intended for use by all students with visual impairments. Likewise,
some needed by students with visual impairments may not be
presented here.

Accommodations and various technologies exist to provide learners
with visual impairments access to academic instruction and tests. The
term “technology” comes under the definition of assistive technology
as described in federal law and is considered an accommodation to the
testing of students with visual impairments.

The need for one or more accommodations is the decision of the
Individualized Education Program (IEP) team and must be recorded on
a particular student’s IEP. Accommodations used during testing should
generally match those used by the student for classroom instruction,
assuming they are familiar and effective for the student. Their use is
determined by evaluating factors unique to each student and must be
implemented as outlined on the IEP. Evaluation of their effectiveness
for an individual student is highly recommended. Further, students
must be trained to use accommodations. For example, providing a
test orally by a qualified person or on computer might actually penalize
a student who has not been trained to listen to orally presented
material or trained to use a computer for assessment.

Accommodations should be periodically evaluated to ensure that they
are still effective for the student. Some may need to be eliminated or
revised when and if the student arrives at a point where he or she
either does not need the accommodation, it is ineffective, or it is not
the most effective option available. If an accommodation is needed by
a student and is not on the list of those approved for state use, the
local test administrator should contact the state assessment office to
request a review of its use.

The next segment presents general as well as specific accommodations
for test takers with visual impairments who use braille, large print,
and/or audio formats. See Appendix F for additional information on
this topic.


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           Types of Accommodations for Students
                 with Visual Impairments
                     Presentation Accommodations

1.   Braille, large print, and audio are accommodations that some
     students with visual impairments will use interchangeably. A student
     may, for example, read a passage in braille and prefer to access a
     table or chart in an enlarged version of the test. Therefore, students
     should be allowed to use a large print (or regular print with
     magnification) and a braille version of the test, if requested.
2.   Some students who are visually impaired may need to have read to
     them the test directions or some of the test items, as long as those
     items read do not assess reading as a decoding skill. See section on
     “Some Guidelines for Oral Reading and Signing of a Test. “
3.   Computer-administered testing is an accommodation that has
     received some attention through research, though studies
     concerning its benefit are inconclusive (Tindal & Fuchs, 1999).
     Generally, however, when a student uses a computer for daily
     classroom activities, then this accommodation may prove useful
     during testing if the concepts being tested are not undermined. There
     are several programs and peripheral materials that can be used to
     adapt the computer for use by persons with visual impairments.
     Screen readers, text to speech technology, and keyboard access
     through braille or switches are available. Depending on the construct
     being tested, test administrators must verify that the student is
     inhibited from accessing software or hardware that may provide an
     unfair advantage. For example, if a student's basic math skills are
     being assessed and the intent is not to use a calculator, then the
     keyboard functions or software used for computations must be
     blocked.
4.   When testing allows the use of non-scientific or scientific calculators,
     students with visual impairments should be permitted to use an
     equivalent device that has been adapted for use by a visually
     impaired user. Should a state provide non-scientific or scientific
     calculators for the sighted population taking the test, then non-
     scientific or scientific, talking calculators should be provided to
     students with visual impairments who are taking the test.
5.   An abacus is often useful for students when mathematics problems
     are to be worked without a calculator. The abacus functions as paper
     and pencil for some students with visual impairments who have
     received instruction and practice on the use of the abacus. See



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     Appendix D for the position paper "Use of an Abacus in Test-Taking
     Situations."
6.   Students may want to use manipulative devices, such as a ruler or
     template, to maintain placement on a line of braille or print. Other
     tools available for use by visually impaired students include braille or
     large print rulers and protractors, raised line or bold line graph
     paper, or raised line or bold line writing paper, to name a few.
     Contact the American Printing House for the Blind (APH) toll free
     at 1-800-223-1839 to request a catalog of available accessible
     materials, or visit APH on the Internet at www.aph.org.

                        Response Accommodations

1.   Students with visual impairments may need to present answers
     orally to a test administrator who completes the answer sheet. See
     section on Guidelines for Braille and Large Print Test Response
     Transcription.
2.   Students with visual impairments may need to write answers in the
     test booklet or on separate paper using a braillewriter or slate and
     stylus.
     The student's answers must then be transcribed and transferred to
     the answer sheet. See section on Guidelines for Braille and Large Print
     Test Response Transcription.
3.   Students may need to write answers using a word processing
     program, to be transferred to the answer sheet. Depending on the
     construct being tested, test administrators must verify that students
     are inhibited from accessing software or hardware that may provide
     an unfair advantage. For example, if a student is responding to a
     writing prompt and the writing will be judged based on correct
     spelling and grammar, then the spell check function and grammar
     functions must be disabled.
4.   If a student must draw or somehow demonstrate a response, then
     accessible tools and materials that are typically used by the student
     for instructional purposes must be made available in the testing
     environment as long as no unfair advantage is provided. For this
     type of open response item, it is very important that scoring criteria
     be well defined and allow for variation in response methods.

                          Timing Accommodations

1. The use of extended time for test completion is a testing
     accommodation that has received considerable attention since state
     testing and accountability systems have been implemented. Research
     investigating the use of extended time has yielded little conclusive


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     information about its benefit (Tindal & Fuchs, 1999). However,
     students with visual impairments will usually require extended time
     during testing because using braille, print, and audio formats require
     more time than does reading print with acceptable visual acuity. A
     study by Wetzel and Knowlton (2000) suggests that experienced adult
     braille readers may need no more than 50% more time than the
     stated duration, with additional time allowed for the manipulation of
     an audio device or the marking of an answer sheet. In contrast, an
     earlier researcher found that braille readers with far less braille
     reading experience than the subjects mentioned in the Wetzel and
     Knowlton study may need between 2 and 3 times as much time as
     their sighted peers to read the same material (Nolan, 1966, p.1).
     Traditionally, extended time for testing readers who are visually
     impaired has been 1½ times, and for braille readers time allotted has
     been 2 times the amount allowed for regular print readers
     (Lowenfeld, Abel, & Hatlen, 1969, pp. 91-92). Regardless of the time
     allowed, the student should be carefully monitored to ensure that time
     is being used appropriately. If students need an inordinate amount of
     time, educators may need to investigate the efficiency of the chosen
     reading mode or initiate remediation to improve speed. Generally,
     timing accommodations should be individualized according to the test
     taker's reading rate and testing situation (Wetzel & Knowlton, 2000).
     See Appendix E on the "Use of Extended Time."
2.    Reading braille, print, or listening to material presented orally,
      especially when accompanied by graphic material, can be a fatiguing
      and often frustrating experience in a high stakes testing environment
      for students with visual impairments. Therefore, students may need
      several brief sessions in which to take the test. Additional break
      options should also be considered.
3.    Students may need to be tested over a longer time period, a week
      rather than two days, for example. However, any alteration of the
      timetable will necessitate close supervision to ensure test security.
4.    Students may need to be tested at different times of the day
      depending on their optimal functioning time.

                      Setting Accommodations

1.   Some students with visual impairments may need to be administered
     a test or select subtests individually, or in small groups as
     recommended on their IEP, to ensure that the test accommodations
     needed by the students are implemented without interfering with
     the concentration and test taking results of other students.
2.   If a student is recording answers by using technology that is noisy or
     is recording answers orally, then he or she must take the test



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    individually and under the supervision of a test administrator in order
    to avoid distracting or influencing the responses of other students.


  Specific Accommodations in Testing Readers Who
           Require Enlarged or Large Print
Enlarged print is that which is 14 point, 16 point, or regular print that
has been enlarged using magnification devices. Large print is 18-point
type and larger. Enlarged print and large print are accommodations.

Some students may choose to use a regular print test and enlarge it
manually with a magnification device with which they are familiar.
Magnification devices include eyeglass-mounted magnifiers, free standing
or handheld magnifiers, and electronic equipment such as the closed
circuit television (CCTV) or a computer that has text enlargement
software installed. These devices do not provide a student with an unfair
advantage. Rather, they are devices that the student requires to access
print, and they should be allowed as standard accommodations.

Proper lighting and freedom from glare, while sometimes overlooked, are
critical for many readers with visual impairments. Lighting that has been
adjusted to suit the student's particular visual needs and minimize glare
will help promote sustained reading efficiency.

Specific Accommodations for Audio and Oral Test
                Administration
Students using an audio version of a test or having the test orally
administered as an accommodation should also be allowed to have print
(large print or regular print with a magnification device) and braille
versions of the test, if requested. A student may wish to listen to a
passage by way of audio, but access a table or chart in a large print or
braille version of the test. Listening to an oral description of a geometric
figure can be difficult or impossible to follow unless an enlarged graphic
or a tactile graphic accompanies the oral description.




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              GUIDELINES FOR BRAILLE AND
               LARGE PRINT TEST RESPONSE
                   TRANSCRIPTION
Some students with visual impairments will use the accommodation of
oral response, written response (on the test booklet or on paper other
than the test answer sheet provided by the test publisher), or taped
response. Each of these accommodations requires that a person
transcribe the answers onto the answer sheet or booklet that will be
scored. These guidelines are provided to ensure that transcription is
performed appropriately.
1.   Confidentiality of the test materials and the student's individual
     responses is critical. Transcribers must treat the testing materials
     and the student responses in a secure and confidential manner to
     ensure test and student identification security.
2.   Response transcribers must know braille if transcribing braille
     responses.
3.   It is best if the response transcriber is a "neutral" person, not
     someone with a vested interest in the student's scores.
4.   Response transcribers must provide the exact answers that the
     student has written using the same punctuation, spelling, and
     grammar structure. They cannot guess what the student might
     have meant if answers are incomplete.
5.   It is recommended that the response transcriber have a second
     person proofread the responses to ensure accuracy and fairness to
     the student. When transcribing graphics that a student has
     produced, two transcribers should work together in transferring
     student answers to the answer sheet or booklet.
6.   For a period of time, student responses must be maintained in a
     secure file with test name, copyright year, form and level
     administered so that the student's actual responses can be
     reviewed if questions arise.




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       REPORTING TEST RESULTS OF STUDENTS
          WITH VISUAL IMPAIRMENTS
Following the requirements of federal law, the scores of students who
take assessments in accessible format must be reported for account-
ability purposes. When reporting the results of students with visual
impairments, care must be taken to protect the student's privacy while
appropriately representing the test score in consideration of the
accommodation(s) used. Students must not be penalized for use of
approved accommodations that do not change the test construct and do
not provide an unfair advantage to the test taker. Reporting of scores
should be a consideration during the test development phase so that all
parties understand the purpose of the testing and how the results will be
reported and used.

  Reporting Test Results for Braille Editions
For most assessments, braille test versions should be regarded as
appropriate accommodations for students who use braille daily. Any
rescaling of braille test versions that is performed because of item
omission should be reported. The scores of those students taking a test in
braille should be considered valid as long as the test has been prepared
using the guidelines presented in this document. Students who read
braille daily need to use braille to respond to test items. This dual use
provides an instructional/ assessment validity match. Extensive efforts
to "prove" a braille test invalid because of a difference in format are
neither recommended nor useful. If the purpose of a test is to determine
educational skill progress, the validity can be addressed by confirming
that the media used for instruction matches that which is used for
assessment.

  Reporting Test Results for Large Print Editions
Large print versions of tests also qualify as appropriate accommodations
for use during the assessment of students who use large print daily.
Unless the assessment has been reformatted, the large print version is a
camera-enlarged version of the original version. If the test is altered
through removal of shading, or other clutter from graphics, the use of
the large print format should be considered an appropriate and valid
accommodation. Generally, if reformatting is performed in a manner
preserving the original test content, the reformatted version should be
considered valid. Producers of large print must work with test publishers
to verify that the test material has not been altered in content or
purpose in order to maintain test validity.




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            Reporting Test Results for Audio and
                 Orally Administered Tests

Regarding most assessments, the use of audio and orally administered
tests should be considered appropriate accommodations for students who
use audio and oral formats on a routine basis to access materials. For
tests that assess reading as a decoding skill (visually or tactually), audio
and orally administered versions may change the skill being tested, and
this should be noted in any report of scoring.




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                    ALTERNATE ASSESSMENTS
The guidelines presented in this section address some specific issues
related to accessibility of alternate assessment for students who are
blind or visually impaired. The guidelines addressing general state
testing that are presented throughout this book are appropriate
considerations for providing alternate assessment materials for some
students in this population; however, the specific needs of this group
must be discussed because so many are non-readers. Best practices in
this arena are still being formulated.


                          General Issues
Students who meet the criteria for alternate assessment, by definition
of the federal law, are those students who have significant cognitive
disabilities (often referred to as the 1% population assessment).
As allowed by federal law, some states have chosen to provide a
second alternate assessment for those students who are not expected
to meet the state standards as demonstrated on the general state
assessment within the same time frame as students taking the general
state assessment. In addition, these students are to be working
toward the state standards using modified achievement standards as
identified by each state. In some states, this alternate assessment
(generally referred to as the 2% population assessment) mirrors the
general state assessment with the exceptions of having fewer answer
choices and in some cases using simpler language in the test items.

Since alternate assessments are very similar to the general state
assessment in most cases, the same requirements for accessibility are
applicable for the alternate assessment as are outlined for the general
assessment.

The needs of students who are blind or visually impaired and have
additional disabilities that may qualify them for these alternate
assessments, must be considered in the planning and developing of
alternate assessment formats and items. Providing accessibility for this
population of students requires that test publishers and state
personnel have access to professionals who are familiar with braille,
large print, and regular print and know the learning styles of these
students.

Because many students who take alternate assessment have limited
reading ability, it is expected that students who are blind who qualify


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for alternate assessment will have very limited braille reading
capabilities as well. Likewise, students with low vision who qualify for
alternate assessment may have limited ability to read print or large
print.

While providing a general assessment in braille for accessibility
purposes has its challenges, the provision of an alternate assessment
in tactile format can be even more challenging. Alternate assessments
typically have formats that either require the student to answer
questions by looking at a visual stimulus or demonstrating skills from a
checklist of desired tasks. Alternate assessments often include
performance tasks, such as picture identification or demonstration of
skills using manipulatives. Generally, demonstration of specific skills
on alternate assessments can be easily accommodated to allow the
student who is blind or visually impaired to perform tasks in the usual
way they perform tasks in the classroom. Validity and reliability can
usually be maintained when accommodations have been well-
documented on a student’s IEP and assessment report.

                 Considerations in Alternate
                    Assessment Design

   Because reading is an issue for the population of students taking
   alternate assessment, test items often require picture identification.
   Test administrators must be able to describe the pictures for
   students who are blind. All test items need to be reviewed to assure
   that the picture can either be described (accessible) without giving
   the answer away or that the picture is not needed (inaccessible)
   and has been omitted. Keeping the task appropriate to the student
   who takes the test is crucial: For example, it is appropriate to ask a
   student about the function of an object (i.e. Which of these can you
   eat-- a book, a rock or a banana?). An item would not be accessible
   if it asked: “Which of these pictures shows a banana?” In this later
   example, naming the pictures (book, rock, banana) would give the
   answer away.
   It is recommended that the test publisher provide picture descrip-
   tions for the test administrator. Picture descriptions should be
   developed in conjunction with content experts and state
   assessment personnel, keeping in mind the construct (skill) being
   assessed and the cognitive level of the students taking the test.
   If pictures cannot be described without compromising the test item,
   it is preferable to present manipulatives (objects) to students in lieu
   of pictures. If this is allowed by the state, such objects should be


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 real objects (i.e. actual familiar classroom objects and shapes such
 as pencils; paper; books; notebooks; toys; food; geometric shapes;
 and counters) and not replicas.
 Replicas or miniatures of animals or of other large objects are not
 appropriate for use because they cannot be distinguished by the
 student. These should be used with caution and only if the student
 is familiar with the models or miniatures.
 Real money should be used rather than a tactile representation.
 Tactile representation of simple graphs (charts) is appropriate. If
 the test administrator is allowed to read the chart or graph, a script
 for reading it is preferred and should be included in the test
 administration manual.
 Tactile representation of shapes (circles, squares, stars, rectangles,
 etc.) is appropriate and should be used in place of letters, animals,
 and people to present counting or other mathematics items.
 If the skill being assessed is not reading, then test administrators
 should be allowed to read aloud all words and passages used in the
 test items. Care must be taken not to give vocal clues by
 emphasizing certain words.
 If the construct being assessed is decoding of words (i.e. reading)
 and simple words and/or passages are provided, then these words
 and passages must be provided in braille. It is important for state
 assessment personnel to determine if contracted or uncontracted
 braille, or both will be provided. This can best be done by surveying
 a sample of teachers who work with this population to determine
 which format is preferred or by requesting school districts to specify
 the number of alternate assessments that are needed in contracted
 braille and the number needed in uncontracted braille. Making this
 decision part of the ordering process ensures that the appropriate
 braille test format is provided for each individual student.
 Large print is defined by research as optimal at 18 points. A sans
 serif font should be used for best readability.
 It is important that any pictures or graphics provided in print or
 large print are clear, uncluttered, black line drawings with no grey
 scale.




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                APPENDIX A
    BRAILLE VERSUS AUDITORY ACCESS: A
               DISCUSSION
Federal law requires that consideration be given to accommodations in
testing students with disabilities. With this focus comes the responsibility
of the educator to identify needed and useful accommodations for
students with disabilities. For students with visual impairments,
accommodations that provide access to print can vary considerably. The
range of accommodations includes braille, tactile graphics, large print,
regular print with magnification, auditory media, or any combination of
these accessible media. This discussion suggests methods for identifying
the most appropriate accessible media, identifies uses of braille and audio
materials, and provides recommendations for consideration in choosing
testing media.

Since the early 1990s authors have identified methods of evaluating the
"mode of reading" or method of print access for students with visual
impairments (Koenig & Holbrook, 1993; Wormsley & D'Andrea, 1997).
Federal law indirectly requires that print access be evaluated by defining
the consideration of braille as a mode of reading for students with visual
impairments as part of the Individualized Education Program (IEP)
process. A major part of the early and ongoing assessment of a visually
impaired student’s unique needs is the use of various media to access
printed materials. Identification and use of appropriate media includes:
  • Determination of the student's primary and secondary sensory
    channels for learning through observation of the student's use of
    vision, use of touch, and use of hearing in familiar and unfamiliar
    settings, at structured times and unstructured times, and in outdoor
    settings as well as indoor settings (Koenig & Holbrook, 1993)
  • Attention to the student's current print access needs, instruction and
    remediation in accessible media or alternate media, and recognition
    of future needs in print access for the student
  • Provision of initial sensory channel identification and ongoing sensory
    channel use to determine changes in use and need for instruction in
    additional media access skills
  • Instruction in a variety of accessible media that could be used by the
    student
  • The opportunity to learn skills that enable the student to choose the
    appropriate medium for various tasks




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Specifically, the appropriate uses for braille are determined by each
individual who uses braille. Most blind individuals access printed materials
by using a combination of media. One issue in using braille has typically
been the lack of braille materials. Currently, there are improved methods
of providing braille materials through the expansion of technology.
Computer software and hardware that translate print to braille, provide
braille displays, and emboss braille through a translation program are
used to provide most braille text in a timely fashion. It should be noted
that print with highly graphic and technical content does not translate to
braille easily and with the type of accuracy expected for testing
materials.
Congress has recently passed legislation that will ensure accessibility of
instructional materials in braille for students with visual impairments.
While assessment materials are not included in this legislation, it seems
that making instructional materials readily available and accessible will
drive the need for a similar pattern in the testing arena.
Persons with visual impairments routinely use auditory means to access
large volumes of literary or recreational reading material, such as novels
or magazines. The expansion of technology and the ability to translate
printed text into speech has enabled persons with visual impairments to
access information via computer software and/or hardware. Additionally,
many persons with a visual impairment make use of a screen reader for
print access, a skill that requires some training.
The availability of a wide range of ways to access print is important for
persons with visual impairments. This range of availability should exist
for students but should not be confused with, or used as a replacement
for, the skill of learning to read (decode language). If society values the
reading of materials as a decoding skill, then access to printed material
for students who are visually impaired must include the learning of
reading through tactual or visual processes. For some individuals the
reading process is too tedious to be efficient. These individuals may
choose to use primarily auditory materials as adults, but as students
they should be given the opportunity to learn reading as a decoding skill.
The skills involved in reading braille, reading print, and listening to audio
materials are unique to each medium. Therefore, during the development
of test items, test publishers must be clear about which constructs are to
be assessed by a particular item. If reading as a decoding skill is to be
assessed, then a fair assessment can only result if the student is
provided with material that can be visually or tactually read. If
comprehension is the construct being assessed, then the test developer
must determine whether reading comprehension or listening
comprehension is the skill to be assessed. Comprehension would need to
be defined to ensure that students are using appropriate accommodations
when taking a particular test.


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The following recommendations should be reviewed when considering the
use of braille or audio materials for students with visual impairments:
1.   Braille and tactile graphics interpretation should be taught as media
     access skills so that students may learn reading as a decoding skill
     and have the option of using braille and tactile materials.
2.   Auditory listening skills should be taught as a media access skill so
     that students can learn listening comprehension skills and have the
     option of using audio materials.
3.   Test publishers must be certain about the construct being assessed
     on all test items. This enables educators and test administrators to
     make valid judgments about appropriate accommodations for
     students with visual impairments during test administration and helps
     to ensure correct interpretations of test results.

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                  APPENDIX B
       TEMPLATE FOR TEST ADMINISTRATION
           NOTES FOR BRAILLE TESTS
  Name of Test:


  Edition of Test:


  Section:


  Preliminary Pages Transcriber's Notes:


  Special Symbols Page:


  General Test Direction Notes:


Print Page     Braille Page   Accompanying        Item            Notes
Number(s)      Number(s)      Test                Number(s)
                              Administration
                              Manual Page
                              Number(s)




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                Explanation of Fields on
        Test Administration Notes for Braille Tests

Name of Test: Provide the full and exact name of the test.
Edition of Test: Provide the copyright or other edition listing to further
identify the test.
Section: Provide the section name and other identifying information.
Preliminary Pages Transcriber's Notes: Provide in print the exact
wording of transcriber's notes that refer to preliminary pages in the
braille version of the test. Indicate the page number of the transcriber's
notes.
Special Symbols Page: Provide in print the exact wording of the special
symbols page that may be present within the braille version of the test.
Indicate the page number of the special symbols page.
General Test Direction Notes: Provide information about the methods
a student may use when responding to test items that differ from print
test versions and which require special equipment or attention.
Print Page Number(s): Provide the location of test material within the
regular print version of the test.
Braille Page Number(s): Provide the location of test material within
the braille version of the test.
Accompanying Test Administration Manual Page Number(s):
Provide the page number(s) in the test administration manual that
correspond with each regular print test page.
Item Number(s): Provide the test item number(s) that appear on that
print page.
Notes: Provide comments that indicate transcriber's notes specific to
particular pages, changes made to the braille version of the test, and
changes made to directions, as listed in the test administration manual or
on the test.




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                  APPENDIX C
       TEMPLATE FOR TEST ADMINISTRATION
          NOTES FOR LARGE PRINT TESTS
  Name of Test:


  Edition of Test:


  Section:


  General Test Direction Notes:


Print     Large Print    Accompanying                Item    NOTES
Page      Page Number(s) Test                      Number(s)
number(s)                Administration
                         Manual
                         Page Number(s)




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               Explanation of Fields on
    Test Administration Notes for Large Print Tests

Name of Test: Provide the full and exact name of the test.
Edition of Test: Provide the copyright or other edition listing to further
identify the test.
Section: Provide the section name and other identifying information.
General Test Direction Notes: Provide information about the methods
a student may use when responding to test items that differ from print
test versions and which require special equipment or attention.
Print Page Number(s): Provide the location of test material within the
regular print version of the test.
Large Print Page Number(s): Provide the location of test materials
within the large print version of the test.
Accompanying Test Administration Manual Page Number(s):
Provide the page number(s) in the test administration manual that
correspond with each regular print test page.
Item Number(s): Provide the test item number(s) that appear on that
print page.
Notes: Provide comments that indicate changes made to the large print
version of the test and changes made to directions as listed in the test
administration manual or on the test.




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                      APPENDIX D
                   POSITION PAPER:
                   USE OF AN ABACUS
              IN TEST-TAKING SITUATIONS
                       By Terrie Terlau and Fred Gissoni

                    Definition and Description
The mathematical abacus is a frame with beads or balls that can be slid on
wires or in slots for calculating or teaching arithmetic (The American
Heritage Dictionary of the English Language, 1996). The abacus has been
used as a calculation device in Europe, Japan, China, and the Middle East
since the third century A.D. It continues to be used widely in Japan
(http://www.syuzan.net/english/education/education.html).

The Cranmer abacus was developed as a calculation device for persons who
are blind or visually impaired and is currently produced by the American
Printing House for the Blind (APH: Abacuses, 2001). The Cranmer abacus
frame is made of high impact plastic, measures 6-1/8 x 3-1/4 x 7/16 inches,
and contains thirteen vertical rods and one horizontal cross bar. Four beads
can be moved vertically on each of the thirteen rods below the cross bar and
one bead can be moved vertically along the rods above the cross bar.

                        Abacus Functionality
When calculating with the Cranmer abacus, vertical rods represent units,
tens, hundreds, etc. Numbers are recorded and manipulated by moving
beads toward the cross bar on their respective rods.

The abacus is a passive device. It is not a calculator or a slide rule. The
abacus does not perform mathematical operations. It does not contain
information that would enable an abacus user to achieve calculation results
without a solid knowledge of mathematical concepts and relationships.
Abacus users produce calculations as a result of their understanding of the
behavior of numbers, not because of any inherent property of the abacus.

Both abacus and pencil-and-paper users must learn strategies for performing
mathematical operations. The primary difference in the activity of abacus
and pencil-and-paper users is that pencil-and-paper users apply and record
steps in these operations by writing while abacus users apply and record
these processes by moving abacus beads.


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Persons who are blind or visually impaired and who have had appropriate
abacus instruction can use the abacus to perform addition, subtraction,
multiplication, division, and square and cube roots. The abacus does not
permit permanent storage of problem solutions because beads must be
rearranged to perform subsequent problems. After each calculation using an
abacus, answers can be recorded in a variety of formats including braille,
large print, voice recording, word processing, or dictation into an electronic
device.

                          Position Statement
Whenever a test-taker is allowed to use a pencil and paper for working
calculations, an abacus should be considered an equivalent substitution.

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                         APPENDIX E
                      POSITION PAPER:
                    USE OF EXTENDED TIME

                             Introduction
In addition to the use of braille and large print, the use of extended time
is also a commonly used accommodation for students with visual
impairments. This position paper provides a brief summary of the results
of research on the use of extended time in testing students, while
suggesting best practices for implementing this accommodation.

                                 Research
For several years, researchers have suggested that students with a visual
impairment need more time to complete assignments and tests (Harley &
Lawrence, 1984; Kederis, Nolan, & Morris, 1967; Morris, 1974; Spungin,
2002; Bradley-Johnson, 1994).

Moreover, some researchers have reported results indicating that
students with a visual impairment generally read at a slower rate than
students without a visual impairment (Packer, 1989; Legge, et. al.,
1985, 1989; Wetzel & Knowlton, 2000). Not only does the reading of
braille and large print generally require more time than reading regular
print, but the time needed to explore and interpret pictorial information
presented as tactile or enlarged graphics can be a tedious and time-
consuming process. Therefore, extended time seems to be an obvious
accommodation for this population. Some suggested time extensions
based on classroom experience or research include

  • 1.5 to 2 times for students with low vision (Gompel, van Bon, &
    Schreuder, 2004),
  • 2.5 times for braille and 1.5 times for large print (Morris, 1974),
  • 1.5 times for all students with a visual impairment (Spungin, 2002),
  • 2 times for braille (Kederis, Nolan & Morris, 1967),
  • More than 2 times for braille and a little less than 2 times for visually
    impaired readers who read print (Packer, 1989), and
  • .5 times for experienced adult braille readers (Wetzel & Knowlton,
    2000).

The most recent synopsis of research on accommodations demonstrates
the wide range of results among studies seeking to validate the use of
extended time during testing. Based on the varied results, authors



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recommend that a well-designed test for standard administration be
untimed (Tindal & Haladyna, 2002).

Research conducted by the National Center on Educational Outcomes
(NCEO) summarizes at least four studies in which the use of extended
time had a positive effect on student test scores. NCEO provided
preliminary results of a Universal Design Research project which suggest
that unlimited time reportedly helps students "think better," a conclusion
drawn after interviewing students who had completed a universally
designed test (with no time limits) and a regular test (with time limits)
(Presentation: Universal Design Research, C. Johnstone & A. Morse, June
24, 2003 at CCSSO Large Scale Assessment Conference, San Antonio, TX).

Several authors seem to agree that timed conditions may not allow
students to reflect their full abilities on achievement tests (Tindal &
Fuchs, 1999) and that adequate time should be provided for all students.
Parr, et. al. (1996) argue that extended time examinations taken under
ideal circumstances can be more equitable and practical than timed
examinations. In another investigation, Marquart (2000) found that
extended time failed to significantly improve the test scores of disabled
students. The author, however, does conclude that extended time likely
produces a more accurate measure of a student's skill by helping to
reduce test anxiety and by allowing a greater opportunity to use good
test taking strategies.

                               Conclusions
Extended time is a commonly used accommodation for students with
visual impairments. Some literature concerning the subject recommends
that the accommodation of extended time be of specific duration, e.g.,
2.5 times for braille readers and 1.5 times for large print readers.
Certainly, a topic in need of additional information is a comparison of
time used among the following: a braille reader who must explore and
interpret tactile graphics, a large print reader who must visually examine
and synthesize enlarged graphics, and a sighted student using regular
print test materials. Moreover, several current researchers suggest
placing less emphasis on designating a uniform, "one size fits all" duration
of extended time as an accommodation for disabled students during
testing. Rather, these researchers suggest that the accommodation of
extended time consist of "adequate time." That is, a specific length of
time, which must be determined by educators through careful
assessment of the student's physical disability, skills, and needs. In lieu
of extended time, some test administrators are finding that more
frequent breaks are effective for braille and large print test takers. Once


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the need for, and duration of, adequate time and/or breaks has been
assessed, educators should include that information on the student's IEP,
ensure use of the accommodation, and monitor its use.

                        Position Statement
To implement extended time or adequate time for students with visual
impairments, four basic steps should be followed:

1.   Assess the need for extended time and frequent breaks.
2.   Include specific information about extended time and the need
     for breaks on the student's Individualized Education Program (IEP).
3.   Ensure that extended time and frequent break accommodations
     are implemented as specified during testing.
4.   Monitor the student's use of extended time to assure that the
     student uses extended time/break time appropriately and that
     the student is on task.

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                APPENDIX F
             POSITION PAPER:
    ACCOMMODATIONS FOR TESTING STUDENTS
         WITH VISUAL IMPAIRMENTS

                          By Carol Allman, Ph.D.

                               Introduction
Accommodations and technologies exist for the purpose of providing a
disabled student with access to academic materials that may otherwise be
inaccessible. The term "technology" comes under the definition of assistive
technology as described in federal law and is considered an accommodation.
Accommodations and assistive technologies needed by students with visual
impairments should be outlined on the student's Individualized Education
Program (IEP). These accommodations should be monitored periodically for
their effectiveness with the individual student and revised or updated as
appropriate. Any accommodations provided for students during the
testing window should be ones typically used by that student in the
classroom and not new or unfamiliar ones.

This paper provides an overview of accommodations in testing that might be
effective for students with visual impairments and should be documented on
their IEP. Five major categories of accommodations that include
presentation, response, setting, scheduling, and special tools are discussed.
Not all of the accommodations presented in this paper are intended for use
by every student with a visual impairment. Likewise, some accommodations
needed by students with visual impairments may not be discussed.

                 Determining Accommodations
The need for accommodations is the decision of the Individualized Education
Program (IEP) team and must be recorded on the IEP. Accommodations used
in testing should match those used by the student for classroom instruction.
Accommodation use is determined by evaluating factors unique to each
student and must be implemented as outlined on the IEP. Evaluation of the
effectiveness of accommodations for individual students is highly
recommended. Further, students must be trained to use accommodations.
For example, providing a test orally or on a computer might actually penalize
a student who has not been trained to listen to material presented orally or
trained to use a computer for assessment. Accommodations should be


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continually evaluated to ensure that they are effective for the student. Some
accommodations should be eliminated if the student arrives at a point where
he or she either does not need the accommodation or the accommodation is
ineffective.

                 Presentation Accommodations
Students with visual impairments have several options for accessing test
materials. According to data collected by the American Printing House for the
Blind (2003), 9% of the visually impaired student population use braille as
their primary mode of reading. Approximately 26% use large print materials,
while only 6% are auditory readers who would require test materials to be
presented in audio format. Prereaders (27%) may use auditory materials
until they learn braille or print. Of the nonreaders (32%), some may use
braille, large print, and audio on a very limited basis. However, there are
many whose significant cognitive disability would inhibit them from
successfully using braille, large print, and audio materials. Most of these
students are involved in educational programs that do not rely heavily on
traditional reading media and modes of learning and communication. This
population of students may use augmentative or tactile communication
systems and might qualify for alternate assessment in the statewide
assessment program. The remainder of the visually impaired school-aged
population who are readers access standard print materials with or without
low vision aids.

Braille, large print, magnified print, and audio presentation are
accommodations that allow visually impaired students access to the testing
environment. Some of these students may use a combination of these media
to complete a single test. A student may, for example, read a passage in
braille and prefer to access a table or chart in a large print or magnified
format. Students using an audio version of a test as an accommodation
would also be allowed to use print (large print or standard print with a
magnification device) and/or braille versions of the test, if requested.

Further, a student may prefer to listen to an orally presented passage but
access a table or chart in a large print or braille version of the test. If a
multimedia presentation is used, the various media must be coordinated to
ensure accuracy and accessibility. It should be noted that computer-assisted
testing is becoming very popular and requires special attention to be
accessible for students with visual impairments.




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                    Braille and Tactile Graphics
Braille is a system of raised dots that represent words and letters. It is used
as a presentation method for those students who typically read braille for
classroom instruction. Braille may be presented as contracted (using short
forms for words as outlined in English Braille Code) or in uncontracted format
(using no short forms, i.e., spelling each word letter by letter). Most students
will use the standard contracted braille. A few students, such as those who
are just learning braille in the early grades or who are newly blinded, may
need uncontracted braille to access a test.

The production of a braille test is a unique process that often necessitates
the review and limited editing of test directions and test items so that the
items are understandable when presented in braille and tactile graphics
format. Such editing may involve subtle word changes to directions
(replacing "circle the answer" with "mark the answer"), relocation of stimulus
information (moving the question above a graph or chart), simplification of a
graph or chart (removing extraneous information without deleting answers or
foils), or replacing an item that cannot be reflected in braille with an item of
equal weight, value, and difficulty (replacing an item that requires strictly
visual skills, such as visual illusion, with a similar item that assesses the
same concept and is more accessible to blind students).

However, an item need not be replaced or omitted simply because it is
presented in a manner that requires some visual interpretation. For example,
the concept of understanding a shadow and what causes a shadow is an
important concept for a blind student to understand. Therefore, this skill can
be assessed through use of descriptions and tactile graphics. If, however, a
test or particular subject includes a high percentage of visual items, then
consideration may be given to substituting some of the "visual" items.
Students who read using braille are expected to meet the same standards
that other students meet, even though they are doing so tactually. The
process of editing a test for braille production should in no way simplify or
reduce the difficulty of the test material.

Once test material has been edited for braille transcription, qualified persons
will transcribe the print into braille by using the recommended edits and
guidelines for braille transcription and formatting. The transcribed braille test
must be proofread and produced so that the braille reader receives a high
quality test in the same timely manner as sighted students receive their test.




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                   Large Print Text and Graphics
Large print is considered such when it is 18-point type and larger. Enlarged
print is typically that which is 14 point, 16 point, or standard-sized print that
has been enlarged using magnification devices. Enlarged print and large print
are accommodations.

Large print should be produced by using an electronic version of the test to
reformat the test so that fonts are larger, fewer items are on a page,
graphics are contained on one page, answer choices are presented with the
questions, and attention is given to improving the contrast and reducing the
shading and gray scale that interferes with reading the material presented.
The process of using a photocopier to enlarge test content should be avoided
since this method lacks the control needed to ensure that all test material
(exponential numbers, footnotes, and graphic material) is represented in a
readable point size, that text is clear and without gray scale interference,
and that problems dealing with measurement are presented accurately. For
example, a butterfly measuring two inches in the standard print test must
remain two inches in the large print version.

Some students will use magnification devices (discussed in more detail in the
section of this paper on special tools considerations) with large print or with
standard print to access test materials.

Therefore, it is important that the standard print version of a test exhibit
good contrast and a clear print style to allow effective use of magnification.

                                       Audio
Generally, students with visual impairments should be expected to read
materials by using print or braille. Access to print is a critical literacy skill for
all individuals. However, where audio presentation is allowed, and for
reducing the time needed to complete a test, some students who are visually
impaired may need directions or some test items presented orally to them.

Audio presentation of print materials is a presentation accommodation
allowing for all or part of a test to be presented on cassette tape, CD,
computer and specialized screen reader or text reader software, or read
aloud to a student. Students should use these accommodations only if they
use audio media for classroom instruction. The skill of listening to spoken
material and manipulating a computer, cassette tape player or CD player is


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different from the skill needed to read and interpret print or braille.
Therefore, navigating through a cassette tape, computer with screen reader,
or audio CD in a testing environment requires practice. Further, the test
purpose must be specified to ensure that oral presentation of a test or
portions of a test do not invalidate results or preclude the reporting of test
results. For example, if the reading skill of decoding print (or braille) is being
assessed, audio presentation of the text could invalidate the purpose of the
test.

The transfer of test material onto audio tape requires a process similar to the
construction of test materials in braille. Print text must be edited for audio
presentation, produced in audio format by experienced audio engineers, and
then proofed for accuracy. Additionally, any graphic material must be
described and provided as a supplement in braille, large print, or standard
print. Accurately describing graphic material requires attention to the critical
components of the graphic and careful consideration of which details can be
included in or omitted from the description without providing the answer or
excluding the foils imbedded in the question.

If a test or part of a test is to be read to a student, there are recommended
practices for ensuring that this accommodation is provided correctly:

    A reader must be skilled in presenting various types of test materials.
    For example, a reader familiar with mathematical symbols is required for
    the correct delivery of higher level math formulas and equations.
    The person selected to read a test to a student should exhibit good voice
    quality, appropriate regional dialect, pronunciation, speed, and tone.
    The reader must avoid voice inflection that stresses or otherwise
    indicates the correct answer to test items.
    Prior to the testing situation, difficult words within the test material must
    be reviewed by the person assigned to read the test. Pronunciation
    dictionaries should be used as references.
    Readers must pause at appropriate intervals so that the student has an
    opportunity to answer test items or access graphic material provided in
    print or tactile formats.
    Readers must avoid answering a student's question concerning
    clarification of testing content. Doing so would provide an unfair
    advantage. Developing some standard responses to students' questions
    prior to the testing situation is helpful. For example, instead of
    answering a student's question about test content, the reader can
    encourage the student to listen to the question again.
    Readers may find it necessary to provide multiple readings of passages,
    parts of passages, or items. While addressing the needs and requests of



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    the test taker, the reader should also use professional judgment to
    determine the number of readings necessary.
    Two readers should be used for presenting a test or portions of a test to
    a student. Using more than one reader helps ensure accuracy of test
    presentation and provides the opportunity for readers to rest during the
    presentation of test material.
    Students tested through oral reading of the exam must be tested
    individually to prevent the distraction of other students. Moreover, the
    testing of students individually helps ensure that each student receives
    the specific oral reading structure required by his or her specific needs.

                    Computer-assisted Testing
Computer-assisted testing is an accommodation that has received some
attention through research, though studies concerning its benefit are
inconclusive (Tindal & Fuchs, 1999). Generally, however, when a student
uses a computer for daily classroom activities, then this accommodation may
prove useful during testing if the concepts being tested are not undermined.

There are several programs and peripheral materials that can be used to
adapt the computer for use by persons with visual impairments. Screen
readers, text to speech technology, and accessible keyboard access through
braille or switches are all available. Depending on the construct being tested,
test administrators must verify that the student is inhibited from accessing
software or hardware that may provide an unfair advantage. For example, if
a student's basic math skills are being assessed and the intent is not to use a
calculator, then keyboard functions or software used for computations must
be blocked. For more information on this topic, refer to Test Access:
Guidelines for Computer-Administered Testing. American Printing House for
the Blind: Louisville, KY. Available from:
http://www.aph.org/tests/access/access.pdf

                    Response Accommodations
Students with visual impairments who use the presentation accommodations
discussed above may also need to use certain response accommodations so
that answers can be recorded appropriately. As with presentation
accommodations, response accommodations with which the student is
familiar are recommended.

Considerations regarding response accommodations include the following:

    The student may present answers orally to a test proctor who completes
    the answer sheet.

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     Students may record onto audio tape answers that then must be
     transferred to the answer sheet.
     The student may need to write answers in the test booklet or on
     separate paper. The student's answers will then need to be transferred
     to the answer sheet.
     Students may use word processors to write answers that will be
     transferred to the answer sheet. Depending on the construct being
     tested, test administrators must verify that students are inhibited from
     accessing software or hardware that may provide an unfair advantage.
     For example, if a student is responding to a writing prompt and the
     writing will be judged based on correct spelling and grammar, then the
     spell check function and grammar functions must be disabled.

Each of these accommodations requires a person to transfer the answers
onto the scanable answer sheet or booklet that will be scored. If computer-
based testing is used, the transfer of answers is not necessary as this
process happens as part of the computer test program. The transfer of
answers must be performed carefully to ensure that the student's answers
are recorded as intended.

The following guidelines are provided to ensure that this transfer of
information is performed appropriately:

1.   Testing materials and the student responses are secure and confidential
     materials, and they must be treated as such to ensure test validity and
     the non-disclosure of the student's identity to unauthorized persons.
2.   Response transcribers must know braille if transcribing braille responses.
3.   Ideally, the response transcriber should be a "neutral" person, not
     someone with a vested interest in the student's scores.
4.   Response transcribers must record the student's use of punctuation,
     spelling, and grammar structure, and provide the student's answer
     exactly as it was delivered by the student. The response transcriber
     cannot record speculative responses for items that the student failed to
     complete.
5.   A second person should be made available to proofread the work of the
     response transcriber in order to ensure that the student's answers have
     been recorded accurately. For the same reason, two transcribers should
     work together in transferring to the answer sheet those graphics that
     the student has produced as an answer to a test item.
6.   For a period of time, student responses must be maintained in a secure
     file with test name, copyright year, form and level administered so that
     the student's actual responses can be reviewed if questions arise.




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                      Setting Accommodations
Frequently, students with visual impairments will need to take a test
individually or in small groups to ensure that test accommodations are
implemented without interference to the concentration and test taking of
other students. If a student is being read to, is recording answers by using
technology that is noisy, or is recording answers orally, then the student
must take the test individually and under the supervision of a test
administrator to prevent the distraction of other test takers.

The setting for the testing situation must allow space for the materials to be
used by the student. The manipulation of braille, large print materials,
braillewriters, talking calculators, and large print materials requires that the
student be allowed access to a flat, fairly large work area. Moreover, proper
lighting, while sometimes overlooked, is critical for many readers with visual
impairments. Lighting that has been adjusted to suit the student's particular
visual needs will help promote sustained reading efficiency.

                   Scheduling Accommodations
The use of extended time for test completion is a testing accommodation
that has received considerable attention since state testing and
accountability systems have been implemented. Research investigating the
use of extended time has yielded no conclusive information about its benefit
(Tindal & Fuchs, 1999). However, students with visual impairments will
usually require extended time during testing because using braille, large
print, and audio format require more time than does reading standard print
with acceptable visual acuity.

A study by Gompel, van Bon, and Schreuder (2004) found that students with
low vision can read effectively with their low vision aids, using 1 ½ to 2 times
that needed by regular students. Traditionally, extended time for testing
large print readers has been 1 ½ time, and for braille readers time allotted
has been twice as much as that allowed for the standard print reader.
Another study suggests that experienced braille readers may need no more
that 50% additional time than the stated duration, with additional time
allowed for the manipulation of an audio device or the marking of an answer
sheet (Wetzel & Knowlton 2000).

Regardless of the time allowed, the student should be carefully monitored to
ensure that time is being used appropriately. If students need an inordinate
amount of time, educators may need to investigate the efficiency of the
chosen reading mode or initiate remediation to improve speed. Generally,



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timing accommodations should be individualized according to the test taker's
reading rate and testing situation (Wetzel & Knowlton, 2000).

Reading braille or large print and listening to material presented orally,
especially when accompanied by graphic material, can be a fatiguing and
often frustrating experience in a high stakes testing environment. Therefore,
students may need several brief sessions in which to take the test. Additional
break options should also be considered.

Students may need to be tested at different times of the day depending on
their optimal functioning time. Students may also need to be tested over a
longer time period, a week rather than two days, for example. However, any
alteration of the timetable will necessitate close supervision to ensure test
security.

                 Special Tools Accommodations
There are a number of special tools that students with visual impairments
may need during the testing process. Tools provided for sighted students
during testing, such as calculators, rulers, protractors, or other measurement
devices, must be provided for students with visual impairments, as well.
Talking calculators, braille or large print rulers, protractors, and other
measurement devices do exist, and the student should be allowed to use
them. When testing allows the use of non-scientific or scientific calculators,
students with visual impairments should be permitted to use an equivalent
device that has been adapted for use by the visually impaired user, e.g., a
non-scientific or scientific talking calculator. Should a state provide
calculators for the sighted population taking the test, then talking calculators
should be provided to students with visual impairments who are taking the
test. Before they are used in a testing situation, electronic and battery-
operated devices should be inspected to ensure they function properly and
that the devices contain no saved information, which might provide the user
an unfair advantage.

Some other special tools that students with visual impairments might use
include:

       Abacus: An abacus is often useful for students when mathematics
problems are to be calculated without a calculator. The abacus functions as
paper and pencil for some students with visual impairments.
       Graphic Tools: If students are required to produce graphic
information on a test, they should be allowed to use one of several graphic
tool kits that exist. It is best if the student uses whatever method he or she
has used during classroom instruction of graphic construction. The student's


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constructed graph, if done in braille, will need to be transcribed into print for
scoring.
       Line Markers and Templates: Occasionally students may want to
use manipulative devices, such as a ruler or template, to maintain placement
on a line of braille or print.
       Magnification Devices: Magnification devices include eyeglass-
mounted magnifiers, free standing or handheld magnifiers, and electronic
equipment such as the closed circuit television (CCTV) or a computer that
has text enlargement software installed. These devices do not provide a
student with an unfair advantage. Rather, they are devices that the student
requires to access print, and they should be allowed as standard
accommodations. Should a computer be used as an accommodation, the test
administrator must ensure that only allowable computer options, such as
screen enlargement, are used.
       Scientific Tables: Frequently, students may need to refer to a braille
or large print edition of a scientific table, such as the periodic table of
elements.
       Physical Manipulatives: Some testing situations may allow that
objects presented on paper (i.e. money, geometric solids) can be substituted
with a physical representation of the picture (i.e. penny, nickel, dime,
quarter, or geometric solids used in instruction).
       Special Paper: Students may need specially designed bold line or
raised line paper for constructing answers and producing graphs.

                                  Summary
This paper has outlined the typical accommodations used by students with
visual impairments when being tested through use of a written assessment
such as an academic achievement test. While this discussion is not
exhaustive of all accommodations that might be used, it is intended to
provide an understanding of the general accommodations that are expected
when assessing a student with a visual impairment. Documentation of these
accommodations on the IEP is crucial as is routine evaluation of their
effectiveness.

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                      APPENDIX G
             Educational Testing Service (ETS)
            GUIDELINES FOR A TEST READER
The following guidelines will assist in providing the testing
accommodation of a reader for a test taker with disabilities. If you have
questions about a specific test, please contact a testing program
representative.

                Characteristics of a Good Reader
1.   Ability to read aloud clearly, at a normal pace, and with good
     pronunciation.
2.   Familiarity with the words, terms, symbols, or signs that are
     specific to the test content.
3.   Ability to follow instructions to read, verbatim, only the words in
     the test book or on the screen, without changing or adding words
     or assisting the test taker in selecting a response.
4.   Willingness to be patient and to understand that the test taker
     may need to have many test questions repeated several times.
5.   Ability to work with the test taker comfortably and compatibly
     without creating unnecessary pressure or unrealistic expectations.

           General Information for Readers
1.   You must review the test format, subject matter, and sample test
     questions in the testing program's information bulletin or by
     visiting the testing program's Web site.
2.   Prior to beginning the test, you will have the opportunity to meet
     with the test taker, who should be encouraged to discuss matters
     that will affect test performance, e.g., how to determine the
     amount of remaining time and how you can help pace the test taker
     through the test. The opportunity to discuss such questions and
     concerns before the test administration begins will make the test
     administration more effective and fair and will help to minimize
     misunderstandings and misinterpretations.
3.   Test takers who are blind or who have low vision may also have
     special tools or equipment (e.g., abacus, brailler, slate, and stylus)
     that have been approved for use during the test. These tools offer
     neither an unfair nor a special advantage; they are comparable to
     paper and pencil and accomplish the same task. The most
     important consideration is for you and the test taker to have the


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      same set of expectations about what is to happen, how much time
      is allowed, and how all the tasks will be accomplished.

4.    Test takers who are blind or who have low vision may also have
      special tools or equipment (e.g., abacus, brailler, slate, and stylus)
      that have been approved for use during the test. These tools offer
      neither an unfair nor a special advantage; they are comparable to
      paper and pencil and accomplish the same task. The most
      important consideration is for you and the test taker to have the
      same set of expectations about what is to happen, how much time
      is allowed, and how all the tasks will be accomplis hed.
5.    The test taker may require all or portions of the test to be read
      aloud. The test taker depends on the reader to read the test
      questions accurately, to pronounce words correctly, and to speak
      in a clear voice throughout the test, which may go on for several
      hours. It is a demanding and somewhat tedious task, and not
      everyone is suited to do it. Drinking water should be available for
      you.
6.    Your task is to read only the test questions. Do not try to solve
      problems or determine the correct answer as you read because
      this may result in an unconscious pause or change in inflection
      that could be misleading or disconcerting to the test taker. The
      expression on your face should remain neutral. Do not look at the
      test taker or smile or frown to indicate approval or disapproval.
7.    Read each question as clearly as possible. Give special emphasis
      to words printed in boldface, italics, or capitals, and tell the test -
      taker that the words are printed that way. Do not give your own
      emphasis to words not emphasized in print.
8.    If you find an unfamiliar word or one that you are not sure how to
      pronounce, advise the test taker of your uncertainty about the word
      and spell it.
9.    When reading a word that is pronounced like another word with a
      different spelling, if there can be any doubt about which word is
      intended, spell the word after you have pronounced it. Spell any
      words requested by the test taker.
10.   Avoid getting into conversation about the test questions, but try to
      respond to the test taker's questions by repeating the item, words,
      or instructions as needed.




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11. When reading passages, be alert to all punctuation marks. Read
    the passage through once so that the test taker can grasp the
    content of the passage. Some test takers may ask for the passage to
    be read through a second time with punctuation marks indicated.
    When required or asked to read, with punctuation, specific lines
    within a passage, indicate all punctuation found within those lines.

12. When test questions refer to particular lines of a passage, reread
    the lines before reading the question and answer choices. For
    example, you might say, "Question X refers to the following
    lines..." Reading the lines referred to would then be followed by
    reading question X and its response options.

             Special Considerations for Multiple-Choice Tests
1.   Be particularly careful to give equal stress to each response option
     and to read all of them before waiting for a response. The test -
     taker will record the answer or provide the answer to the test
     administrator (writer), who will record it for the test taker.
2.   If you are recording answers and if the test taker designates a
     response choice by letter only ("D", for example), ask if you
     should reread the complete response before the answer is
     recorded.
3.   If the test taker chooses an answer before you have read all the
     answer choices, ask if you should read the other response options.
4.   Allow the test taker to pause before responding. However, if the
     test taker pauses for a considerable time following your reading of
     the answer choices, say: "Do you want me to read the question
     again...or any part of it?" In rereading questions, be careful to
     avoid any special emphasis on words not emphasized in the
     printed copy by italics or capitals.

                            Mathematics Reading
A test taker is permitted to ask the reader to write notes and to assist
with intermediate steps in computing mathematics problems, especially
if the test taker has no tools or equipment for taking notes or is unable
to do so. For example, in the multiplication of numbers (e.g., 17 x 521),
a test taker may say, "Seven times one is seven. Put down the seven.
Seven twos are fourteen. Put down the four to the left of the seven and
carry the one." The test taker should be specific in directions to the
reader as to what he or she writes, in which column to write it, what to
carry, etc.
Mathematical expressions must be read precisely and with care to avoid
misrepresentation for a test taker who has no visual reference. For math


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items involving algebraic expressions or other mathematical notation, it
may be preferable for the reader to silently read the entire question
before reading it aloud to the test taker. Use technically correct yet
simple terms, and be consistent in the treatment of similar expressions.
Some typical expressions and the manner in which they should be read
follow:
  (a) Lowercase letters that are juxtaposed should be read as a
     multiplication expression:
       e.g., xy should be read as "x y," unless it is part of a complex
       expression or this reading is otherwise unclear, in which case read
       it as "x times y."
  (b) Capital and lower-case letters should be differentiated because
     they can have different meanings in mathematical or scientific
     expressions:
       e.g.,
                                R - 2y = 6
       should be read as "Capital R minus two y equals six."
  (c) Simple numerical fractions should be read as fractions:
       e.g.,
                                    5/6
       Should be read as "five sixths."
  (d) However, similar letter expressions can be read as one letter
     "over" another:
       e.g.,
                                     a
                                  ______
                                    b
       Should be read as "a over b."
                                   b+d
                                 ______
                                     c
       Should be re ad as "a fraction with numerator b plus d and
       denominator c.”
If there is any question as to where the fraction ends, say "end fraction."
    (e) Negative numbers should be read as "negative":


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       e.g.,
                                       -5
       should be read as "negative five," not "minus five."


    When a subtraction operation is involved, read the sign as "minus,"
       e.g. :
                                      x -5
       should be read as "x minus five."
    (f) Expressions containing multiple mathematical operations should
    be read exactly as they appear. Expressions containing
    parentheses or brackets can be read in any of the following three
    ways:
                1. quantity, close quantity
                2. paren, close paren (or bracket, close bracket)
                3. left paren, right paren (or left bracket, right bracket)
   For "paren, close paren" or "left paren, right paren," it is also
acceptable to use "parenthesis" instead of "paren."
  If you use the term "quantity," in complicated expressions, announce
where enclosed portions end by saying "end quantity:"
       e.g.,

                                 (2x - 6y) - 10

       could be read
       • As "The quantity two x minus six y, close quantity, minus ten;"
       • As "paren, two x minus six y, close paren, minus ten;"
       • Or as "left paren, two x minus six y, right paren, minus ten."


                                    a (x - y)


       could be read as "a, parenthesis, minus y, close parenthesis."


                                      a x b2




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           could be read as "a times the square of b."

     Use pauses to audibly group sections of an expression together:

           e.g.,

                                     z + (-a)

           could be read as "z plus [PAUSE] paren negative a close paren."
      (g) If equations are used in the test you will be reading:
Since equations are a shorthand means of stating relationships between
quantities, the reader's job is to translate this shorthand back into
everyday English. Read equations in this order:
      1.   If the equation is numbered, read its number first.
      2.   Give the meaning of each letter or symbol
      3.   Read the equation.
           e.g.:
                                Eq. 6-2
                                E = energy in ergs
                                m = mass in grams
                                c = speed of light in cm./sec.
                                E = mc2
           Read as "Equation six dash two. Capital E equals energy in ergs, m
           equals mass in grams, and c equals the speed of light in
           centimeters per second. Then, Capital E equals m c squared."

                   Test Center Procedures for Using a Reader

1.    An approved reader should be admitted to the test center with the
      test taker. The reader's photo-bearing identification should be
      checked.
2.    Prior to the start of the exam, the test center administrator/
      supervisor will review the Guidelines with the test taker and the
      reader and will set the ground rules for the conduct of the
      examination.
3.    The test administrator must remain in attendance at all times
      during the test administration.
4.    An approved reader is not present to function as an aide to the
      test center staff. It is inappropriate to ask the reader to perform
      clerical duties of any kind. The reader should not be asked to


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     assume any responsibilities belonging to either the center staff or
     the test taker.
5.   Test center staff must ensure that proper test security is maintained
     at all times. It is important that the test administrator ask
     questions and avoid any hasty interpretations of what may be
     communication of test content or exchange of information between
     the test taker and the reader that might give the test -taker an
     unfair advantage. The task requested by the test taker might be
     acceptable once understood. Discussion or communication concerning
     interpretation of test content is not permitted. If such discussion
     occurs and cannot be controlled, or if test center staff observe
     anything they deem unusual, the situation should be reported on the
     Supervisor's Irregularity Report (SIR) or the Electronic Irregularity
     Report (EIR) and the test taker advised of this action.
6.   The test center administrator may also stop the test and dismiss
     the test taker if he or she believes that the reader has provided
     the test taker with any unfair advantage. In such instances, ETS
     reserves the right to cancel the test taker's score.

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                               Notes:




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                           Exhibit D
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      Building Assessment Initiatives for
      Schools: Guidelines to Support the
      Contract Development Process Between
      Test Publishers and States
      Braille Downloads
       Download .BRF version of guidelines for contract development

       Download .DXB version of guidelines for contract development


      19th Annual Josephine L. Taylor Leadership Institute
      Boston, Massachusetts

      Friday, March 11, 2005

      Introduction
      Contracts and Requests for Proposals (RFPs) negotiated between state assessment agencies
      and test publishers carefully outline the responsibilities and expectations for the state
      assessment development and implementation process. While these documents have specific
      points for consideration, often language does not include the assurance of accessible test
      development and implementation. Accessible test items enable all students to participate in the
      assessment process in a way that allows abilities rather than disabilities to be assessed.
      Accessible formats of tests, including the practice tests, must be available for students with visual
      impairments at the same time as their sighted peers. The checklists provided below outline
      considerations for inclusion in each state's RFP or test contract. The usual contractual language
      found in state contracts should be employed, with these special considerations added.

      Universal Design Principles




http://www.afb.org/info/afb-national-education-program/jltli-2005-education-summary/checklist-for-rfp-buildin...
Building Assessment Initiatives for Schools: Guidelines to Support the Contract Development Proce... Page 2 of 6
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      The following guidelines are general considerations for contract and RFP development that
      ensure test development and use for all students, including those with disabilities:

       The same assessment system is used to measure the achievement of all public school
       students in the state. Groups to be included in the state assessment need to be clearly defined.

       The student assessment system provides coherent information on attainment of state
       standards across grades and subjects.

       The tests are designed to be valid and accessible for all students. This includes students with
       disabilities and students with limited English proficiency.

       The tests are aligned with the state's challenging academic content and student achievement
       standards.

       The tests are valid, reliable, technically sound, and consistent with nationally recognized
       professional and technical standards such as national test publisher standards and guidelines
       of the American Psychological Association (APA) and American Educational Research
       Association (AERA).

       The reporting system allows results to be disaggregated (according to the No Child Left Behind
       Act (NCLB) and Individuals with Disabilities Improvement Act of 2004 (IDEA) guidelines) within
       each state and local education agency and school by gender, racial and ethnic group, migrant
       status, disability, socioeconomic status, and limited English proficiency.

       The tests involve multiple up-to-date measures of student academic achievement, including
       measures that assess higher-order thinking skills and understanding.

       The reporting system allows production of individual student reports.

      Roeber, E. (2003). Assessment models for No Child Left Behind.
      Education Commission of the States. http://www.ecs.org/html/Document.asp?chouseid=4009
      Item Development and Review Process with Publisher
      The following guidelines are provided for consideration as language to include in contracts and
      RFPs that ensure the development and implementation of accessible test formats, specifically for
      students with visual impairments.

       Test publishers must maintain access to experts, i.e. individuals who know and have either
       taught or are knowledgeable about braille, tactile graphics, large print, and audio. These
       individuals can provide information during each phase of test development.

       Experts in visual impairment must be included on Item Writing Committees and Bias Review
       Committees.




http://www.afb.org/info/afb-national-education-program/jltli-2005-education-summary/checklist-for-rfp-buildin...
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       The use of accommodations must be considered during test item development to ensure
       appropriateness to test purpose and test access.

       The test item pool must be large enough for Bias and Item Review Committees to replace items
       determined to be inaccessible when presented in braille, large print, audio formats, or as tactile
       graphics.

       A representative sample of students with visual impairments needs to be included in any field-
       testing of the assessments, as prescribed in Standard 10.3 (p. 106) of the Standards for
       Educational and Psychological Testing (1999).

       An adequate amount of time for tests and practice tests to proceed through a subcontractor's
       processes needs to be built into contracts so that accessible media as required by each
       student's Individualized Education Program (IEP) are delivered at the same time as the original
       test materials.

       All test administrators' manuals, supplemental manuals which accompany the accessible media
       versions of tests, and local test administrators'/proctors' instructions and training manuals must
       be provided in accessible formats for visually impaired staff. These accessible materials must
       be requested far enough in advance to allow for delivery at the same time as the original test
       materials.

       At the end of each testing season, both students and teachers should give input regarding the
       testing experience.

       Item analyses for accessible format test items will be carried out at the end of each school year
       (or testing season) as part of a continuous improvement plan.

      Allman, C.B. (2004). Test Access: Making tests accessible for students with visual impairments:
      A guide for test publishers, test developers, and state assessment personnel. Second Edition.
      Louisville, KY: American Printing House for the Blind.
      http://www.aph.org/tests/access2/index.html
      Accessible Media Development with Subcontractors
      This section provides guidelines for consideration when contracts are developed with
      subcontractors such as agencies or individuals who will provide tests in one or more accessible
      formats (braille, tactile graphics, large print, and audio). The process may include steps for
      editing, transcribing, designing tactile graphics, proofing, producing and quality checking the
      accessible media. It is essential that the timeline allow adequate time for each of these steps.
      Additional time may need to be built into contracts depending on specific requirements of the
      state such as an independent proofreading by another person or agency, or aligning various
      media for multimedia presentations.




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       The subcontractor must agree to work closely with the test publisher, the state department of
       education, and the test editor.

       The construct to be measured must be documented by the test publisher in test item
       specifications and made available to test editors and accessible media producers.

       Proofreading by a qualified individual, i.e. a person who knows the needed codes and formats
       and is experienced or certified (if applicable), in braille, tactile graphics, large print, and audio
       versions of the test must occur before multiple copies are made. High-stakes tests should be
       proofed a minimum of two times.

       Accessible versions of the test must be aligned so that a multimedia presentation (as approved
       by state assessment programs) is possible if specified by a student's IEP.

       Allowable test format changes, accommodations, and general assistance to test takers by the
       test administrator or proctor must be stated in the test administration manual or supplemental
       materials produced by the subcontractor.

       Subcontractors must be able to meet their deadlines so that high quality accessible media are
       delivered to school systems at the same time as the original test materials.

       Test security and confidentiality standards must be upheld by testing subcontractors.

      Allman, C.B. (2004). Test Access: Making tests accessible for students with visual impairments:
      A guide for test publishers, test developers, and state assessment personnel. Second Edition.
      Louisville, KY: American Printing House for the Blind.
      http://www.aph.org/tests/access2/index.html
      Resources
      Assessment Models for No Child Left Behind,
      from Education Commission of the States (ECS)
      http://www.ecs.org/clearinghouse/40/09/4009.doc

      Building Tests to Support Instruction And Accountability: A Guide for Policymakers,
      from National Education Association (NEA) http://www.nea.org/accountability/buildingtests.html

      Designing School Accountability Systems,
      from Council of Chief State School Officers (CCSSO)
      http://www.nciea.org/publications/desigSchAccSyst_Gong02.pdf

      Illustrative Language for an RFP to Build Tests to Support Instruction and Accountability,




http://www.afb.org/info/afb-national-education-program/jltli-2005-education-summary/checklist-for-rfp-buildin...
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      from American Association of School Administrators (AASA)
      http://www.aasa.org/issues_and_insights/assessment/Illustrative_Language_for_an_RFP.pdf

      Information on Writing a Request for Proposal (RFP)
      http://www.arches.uga.edu/~ninaaug/ITclasses/7550/

      Model Contractor Standards and State Responsibilities for State Testing Programs,
      from Education Leader's Council (ELC) http://www.accountabilityworks.org/publications

      National Federation of the Blind (NFB/New Hampshire Resolution on Accountability)
      http://www.education-rights.org/brailletwomey11399.html

      Tennessee RFP for Development of Online Tests
      http://www.state.tn.us/finance/rds/ocr/rfp/rfp33104001.pdf

      Test Access: Making Tests Accessible for Students with Visual Impairments:
      A Guide for Test Publishers, Test Developers, and State Assessment Personnel. Second Edition.
      American Printing House for the Blind. http://www.aph.org/tests/access2/index.html

      The Standards for Educational and Psychological Testing (1999),
      American Psychological Association http://www.apa.org/science/standards.html

      Thompson, S., & Thurlow, M. (2002). Universally designed assessments: Better tests for
      everyone! (Policy Directions No.14).
      Minneapolis, MN: University of Minnesota, National Center on Educational Outcomes.
      Retrieved 1-28-05 from the World Wide Web:
      http://education.umn.edu/NCEO/OnlinePubs/Policy14.htm
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